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               EXHIBIT 1
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                                                                                      Arrival date:                    05-14-08
  MGA Entertainment                                                                   Departure date:                 08-29-08
  16300 Roscoe Boulevard                                                              No. in party:                   0/0
  Van Nuys, CA 91406                                                                  Room No.:                        9001
                                                                                      Account No.:
                                                                                      BookingNo.:

                                                                                      Page No.:                           1 of 39

                                                                                       Invoice .:
  INFORMATION INVOICE                                                                                                          08-06-08
  1)ate       1)eseliption                 Referenee                                        Ct
                                                                                             •   •..   ••.     .• •
                                                                                                                              Credits

  05-13-08       Comm-Long Distance         09:29 00:03:00 MGA Entertainment #5425                      4.51
                                            MGA Entertainment 45425=>MGA
                                            Entertainment 49001
  05-14-08       Deposit Transfer C/I                                                                                         2,000.00
  05-14-08       Banquet Invoice            39101                                           1,485.00
  05-14-08       Room-Group                  Routed From Harden Susan Of Room 4124             99.00
  05-14-08       Occupancy Tax               Routed From Harden Susan Of Room #124             10.89
  05-15-08       Banquet Invoice            39105                                             475.00
  05-15-08       Room-Group                  Routed From Sarmiennto Dario Of Room              99.00
                                            #210
  05-15-08       Occupancy Tax               Routed From Sarmiennto Dario Of Room                      10.89
                                            4210
  05-15-08       Room-Group                  Harden Susan 4271.-->MGA Entertainment                    99.00
                                            49001
  05-15-08       Occupancy Tax               Harden Susan 427 k,>MGA Entertainment                     10.89
                                            49001
  05-15-08       Parking-Valet Overnight    Harden Susan 4271—>MGA Entertainment                       10.00
                                            #9001 15.00 Split Into 10.00 And 5,00
  05-15-08       Parking-Valet Overnight    Routed From Sarmiennto Dario Of Room                       10.00
                                            #210 15.00 Split Into 10.00 And 5.00
  05-15-08       Parking-Valet Overnight    Routed From Sarmiennto Dario Of Room                       10.00
                                            #210 15.00 Split Into 10.00 And 5.00
  05-15-08       Parking-Valet Overnight    Routed From Harden Susan Of Room 4124                      10.00
                                            15.00 Split Into 10.00 And 5,00
  05-16-08       Banquet Invoice            39106                                           2,998.25
  05-17-08       Banquet Invoice            39107                                             661.13
  05-18-08       Banquet Invoice            39417                                             278.13
  05-18-08       Banquet Invoice            39109                                             760.99
  05-18-08       Room-No Show               Kennedy Raoul ii158-->MGA Entertainment           189.00
                                            49001
  05-18-08       Room-Group                  Routed From Lopez Alex Of Room 4154                   99.00
  05-18-08       Occupancy Tax               Routed From Lopez Alex Of Room #154                   10.89
  05-18-08       Room-Group                  Routed From Russell Jason Of Room 4162               129.00




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                                                                                         Arrival date;      05-14-08
  MGA Entertainment                                                                      Departure date:    08-29-08
  16300 Roscoe Boulevard                                                                 No. in party:     0/0
  Van Nuys, CA 91406                                                                     Room No,:          9001
                                                                                         Account No.;
                                                                                         BookingNo.;
                                                                                         Page No.;             2 of 39

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  INFORMATION INVOICE                                                                                            08-06-08
  Date        Description                  Ado.6ieH                                            Charges           Credits

  05-18-08       Occupancy Tax               Routed From Russell Jason Of Room #162               14.19
  05-18-08       Room-Group                  Routed From Roth Carl Of Room /1202                 189.00
  05-18-08       Occupancy Tax               Routed From Roth Carl Of Room #202                   20.79
  05-18-08       Room-Group                  Routed From Aguiar Lauren Of Room 11286             189.00
  05-18-08       Occupancy Tax               Routed From Aguiar Lauren Of Room 0286               20.79
  05-18-08       Room-Group                  Routed From Hansen David Of Room #303                99.00
  05-18-08       Occupancy Tax               Routed From Hansen David Of Room #303                10.89
  05-18-08       Room-Group                  Routed From Lybrand Steve Of Room #314               99.00
  05-18-08       Occupancy Tax               Routed From Lybrand Steve Of Room #314               10.89
  05-18-08       Room-Group                  Routed From Shorr Aaron Of Room #351                 99.00
  05-18-08       Occupancy Tax               Routed From Shorr Aaron Of Room #351                 10.89
  05-18-08       Room-Group                  Routed From Isomoto Becky Of Room #355               99.00
  05-18-08       Occupancy Tax               Routed From Isomoto Becky Of Room 8355               10.89
  05-18-08       Room-Group                  Routed From Nolan Tom Of Room 8403                  250.00
  05-18-08       Occupancy Tax               Routed From Nolan Torn Of Room 8403                  27.50
  05-18-08       Parking-Valet Overnight    Routed From Isomoto Becky Of Room #355                10.00
                                            15.00 Split Into 10,00 And 5.00
  05-18-08       Parking-Valet Overnight    Routed From Roth Carl Of Room #202 15.00              10.00
                                            Split Into 10.00 And 5.00
  05-18-08       Parking-Valet Overnight    Routed From Russell Jason Of Room 4162                10.00
                                            15.00 Split Into 10.00 And 5.00
  05-18-08       Parking-Valet Overnight    Routed From Roth Cart Of Room #202 15.00              10.00
                                            Split Into 10.00 And 5.00
  05-19-08       Comm-Local Calls           09:29 00:01:00 MGA Entertainment 115425                0.75
                                            MGA Entertainment #5425.--->MGA
                                            Entertainment #9001
  05-19-08       Comm-Long Distance         12:07 00:02:00 Routed From Holden Craig Of             1.21
                                            Room #104
  05-19-08       Comm-Long Distance         09:29 00:04:00 MGA Entertainment #5425                 1.67
                                            MGA Entertainment #5425-MGA
                                            Entertainment 119001
  05-19-08       Comm-Long Distance         09:29 00:01:00 MGA Entertainment 85425                 0.98
                                            MGA Entertainment 115425->MGA




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                                                                                 Arrival date:       05-14-08
  MGA Entertainment                                                              Departure date:    08-29-08
  16300 Roscoe Boulevard                                                         No. in party:      0/0
  Van Nuys, CA 91406                                                             Room No.:          9001
                                                                                 Account No.:
                                                                                  BookingNo.:
                                                                                 Page No,:              3 of 39

                                                                                  Invoice .:
  INFORMATION INVOICE                                                                                     08-06-08
  Datel       Description •           Reference                                        Charge$

                                       Entertainment #9001
  05-19-08       Comm-Long Distance    09:29 00;01:00 MGA Entertainment #5425              0.98
                                       MGA Entertainment / 15425—>MGA
                                       Entertainment #9001
  05-19-08       Comm-Long Distance    09:29 00:01:00 MGA Entertainment //5425             0.98
                                       MGA Entertainment I/5425=>MGA
                                       Entertainment #9001
  05-19-08       Comm-Long Distance    09:29 00:02:00 MGA Entertainment #5425              1.21
                                       MGA Entertainment / /5425->MGA
                                       Entertainment 119001
  05-19-08       Banquet Invoice       39110                                             732.38
  05-19-08       Banquet Invoice       39413                                             419.58
  05-19-08       Comm-Long Distance    09:29 00:15:00 MGA Entertainment #5425              4,20
                                       MGA Entertainment / /5425---->MGA
                                       Entertainment #9001
  05-19-08       Comm-Local Calls      09:29 00:01:00 MGA Entertainment #5425              0.75
                                       MGA Entertainment / /5425—>lVIGA
                                       Entertainment #9001
  05-19-08       Comm-Long Distance    09:29 00:25:00 MGA Entertainment #5425              6.50
                                       MGA Entertainment / /5425->MGA
                                       Entertainment #9001
  05-19-08       Comm-Long Distance    09:29 00:02:00 MGA Entertainment #5425              1.21
                                       MGA Entertainment / 15425—>MGA
                                       Entertainment #9001
  05-19-08       Comm-Long Distance    09:29 00:01:00 MGA Entertainment #5425              0.98
                                       MGA Entertainment 5425--->MGA
                                       Entertainment 1/9001
  05-19-08       Comm-Long Distance    09:29 00:03:00 MGA Entertainment #5425              1.44
                                       MGA Entertainment 15425=>MGA
                                       Entertainment #9001
  05-19-08       Comm-Long Distance    09:29 00:01:00 MGA Entertainment #5425              0.98
                                       MGA Entertainment / /5425—>MGA
                                       Entertainment 49001
  05-19-08       Comm-Long Distance    09:29 00:01:00 MGA Entertainment #5425              0.98




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                                                                                Arrival dale:       05-14-08
  MGA Entertainment                                                             Departure date:     08-29-08
  16300 Roscoe Boulevard                                                        No. in party:      0/0
  Van Nuys, CA 91406                                                            Room No,:           9001
                                                                                Account No.:
                                                                                BookingNo.:
                                                                                Page No.:              4 of 39

                                                                                 Invoice .:
  INFORMATION INVOICE                                                                                    08-06-08
  Date        Description             Rciference                                      Charges            Cre(lits

                                       MGA Entertainment #5425=>MGA
                                       Entertainment #9001
  05-19-08       Comm-Long Distance    09:29 00:03:00 MGA Entertainment #5425              4.51
                                       MGA Entertainment #5425.=>MGA
                                       Entertainment #9001
  05-19-08       Room Service          Line# 104 CHECK# 0046344 Holden Craig             47.40
                                       #104=>MGA Entertainment #9001
  05-19-08       Comm-Long Distance    09:29 00:02:00 MGA Entertainment #5425              1.21
                                       MGA Entertainment #5425>MGA
                                       Entertainment #9001
  05-19-08       Comm-Long Distance    09:29 00:04:00 MGA Entertainment #5425              1.67
                                       MGA Entertainment #5425—>MGA
                                       Entertainment #9001
  05-19-08       Comm-Long Distance    09:29 00:06:00 MGA Entertainment #5425              2.13
                                       MGA Entertainment #5425=>MGA
                                       Entertainment #9001
  05-19-08       Comm-Long Distance    09:29 00:01:00 MGA Entertainment #5425              0.98
                                       MGA Entertainment #5425=>MGA
                                       Entertainment #9001
  05-19-08       Comm-Long Distance    09:29 00:02:00 MGA Entertainment #5425              1.21
                                       MGA Entertainment #5425--->MGA
                                       Entertainment #9001
  05-19-08       Comm-Long Distance    09:29 00:01:00 MGA Entertainment #5425              2.84
                                       MGA Entertainment #5425-->MGA
                                       Entertainment #9001
  05-19-08       Comm-Long Distance    09:29 00:01:00 MGA Entertainment #5425              0.98
                                       MGA Entertainment #5425=>MGA
                                       Entertainment #9001
  05-19-08       Comm-Long Distance    09:29 00:02:00 MGA Entertainment #5425              1.21
                                       MGA Entertainment #5425=>MGA
                                       Entertainment #9001
  05-19-08       Banquet Invoice       39414                                            534.01
  05-19-08       Banquet Invoice       39110                                           -732.38
  05-19-08       Banquet Invoice       39110                                            739.38




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                                                                                            Arrival date:           05-14-08
  MGA Entertainment                                                                         Departure date:         08-29-08
  16300 Roscoe Boulevard                                                                    No. in party:          0/0
  Van Nuys, CA 91406                                                                        Room No.:               9001
                                                                                            Account No.:
                                                                                             BookingNo.:
                                                                                            Page No.:                  5 of 39

                                                                                             Invoice
  INFORMATION INVOICE                                                                                                     08-06-08
                                                                                                 .   .

  Date        Docripthin                    11efet'etice
                                           -.                                                   • • Charges              Credits

  05-19-08       Room-Group                     Routed From Holden Craig Of Room 1/104                   189,00
  05-19-08       Occupancy Tax                  Routed From Holden Craig Of Room #104                     20.79
  05-19-08       Room-Group                     Routed From Lopez Alex Of Room 8154                       99.00
  05-19-08       Occupancy Tax                  Routed From Lopez Alex Of Room #154                       10.89
  05-19-08       Room-Group                     Kennedy Raoul 11158=>MGA Entertainment                   189.00
                                                #9001
  05-19-08       Occupancy Tax                  Kennedy Raoul 8158->MGA Entertainment                     20.79
                                                #900 1
  05-19-08       Room-Group                     Routed From Russell Jason Of Room #162                   129.00
  05-19-08       Occupancy Tax                  Routed From Russell Jason Of Room 8162                    14.19
  05-19-08       Room-Group                     Routed From Roth Carl Of Room 8202                       189.00
  05-19-08       Occupancy Tax                  Routed From Roth Carl Of Room #202                        20.79
  05-19-08       Room-Group                     Routed From Taylor Paulette Of Room 8230                  99.00
  05-19-08       Occupancy Tax                  Routed From Taylor Paulette Of Room 11230                 10.89
  05-19-08       Room-Group                     Routed From Aguiar Lauren Of Room 11286                  189.00
  05-19-08       Occupancy Tax                  Routed From Aguiar Lauren Of Room 8286                    20.79
  05-19-08       Room-Group                     Routed From Hansen David Of Room #303                     99.00
  05-19-08       Occupancy Tax                  Routed From Hansen David Of Room #303                     10.89
  05-19-08       Room-Group                     Routed From Lybrand Steve Of Room #314                    99.00
  05-19-08       Occupancy Tax                  Routed From Lybrand Steve Of Room #314                    10.89
  05-19-08       Room-Group                     Routed From Shorr Aaron Of Room 8351                      99.00
  05-19-08       Occupancy Tax                  Routed From Shorr Aaron Of Room 8351                      10.89
  05-19-08       Room-Group                     Routed From Isomoto Becky Of Room 8355                    99.00
  05-19-08       Occupancy Tax                  Routed From Isomoto Becky Of Room #355                    10.89
  05-19-08       Room-Group                     Routed From Nolan Tom Of Room #403                       350.00
  05-19-08       Occupancy Tax                  Routed From Nolan Tom Of Room 8403                        38.50
  05-19-08       Parking-Self Overnight         Routed From Lopez Alex Of Room #154 8.00                   5.00
                                                Split Into 5.00 And 3.00
  05-19-08       Parking-Valet Overnight        Routed From Taylor Paulette Of Room 11230                 10.00
                                                15.00 Split Into 10.00 And 5,00
  05-19-08       Parking-Valet Overnight        Routed From Holden Craig Of Room #104                     I0.00
                                                15.00 Split Into 10.00 And 5.00




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                                                                                      Arrival date:        05-14-08
  MGA Entertainment                                                                   Departure (late:     08-29-08
  16300 Roscoe Boulevard                                                              No. in party:       010
  Van Nuys, CA 91406                                                                  Room No.:            9001
                                                                                      Account No.:
                                                                                       BookingNo.:
                                                                                      Page No.:               6 of 39

                                                                                       Invoice .:
  INFORMATION INVOICE                                                                                           08-06-08
  Paic                                                                                      Charges             Credits

  05-19-08       Parking-Valet Overnight   Routed From lsomoto Becky Of Room #355               10.00
                                           15.00 Split Into 10.00 And 5.00
  05-19-08       Parking-Valet Overnight   Routed From Russell Jason Of Room #162               10.00
                                           15.00 Split Into 10.00 And 5.00
  05-19-08       Parking-Valet Overnight   Routed From Roth Carl Of Room #202 15.00             10.00
                                           Split Into 10.00 And 5.00
  05-19-08       Parking-Valet Overnight   Routed From Shorr Aaron Of Room 11351                10.00
                                           15,00 Split Into 10.00 And 5.00
  05-20-08       Comm-Long Distance        09:29 00:01:00 MGA Entertainment #5425                2.84
                                           MGA Entertainment #5425->MGA
                                           Entertainment #9001
  05-20-08       Comm-Long Distance        09:29 00:01:00 MGA Entertainment #5425                0.98
                                           MGA Entertainment #5425=>MGA
                                           Entertainment #9001
  05-20-08       Comm-Long Distance        09:29 00:04:00 MGA Entertainment #5425                1.67
                                           MGA Entertainment 115425->MGA
                                           Entertainment #9001
  05-20-08       Banquet Invoice           39431                                              508.58
  05-20-08       Banquet Invoice           39111                                              644.03
  05-20-08       Presidential Lounge       Lineil 238 : CHECK# 0034785 Larian Isaac            84.00
                                           #238=>MGA Entertainment #9001
  05-20-08       Room-Group                 Routed From Larian Isaac Of Room #238             189.00
  05-20-08       Occupancy Tax              Routed From Larian Isaac Of Room 11238             20.79
  05-20-08       Las Campanas              Lineil 104: CHECK# 0052213 Holden Craig             36.10
                                           #104->MGA Entertainment #9001
  05-20-08       Banquet Invoice           D1NNER39432                                        500.95
  05-20-08       Room-No Show              MGA Entertainment TBA #1 11379->MGA                 99.00
                                           Entertainment 49001
  05-20-08       Room-Group                 Routed From Holden Craig Of Room #104             189.00
  05-20-08       Occupancy Tax              Routed From Holden Craig Of Room #104              20.79
  05-20-08       Room-Group                 Routed From Lopez Alex Of Room 11154               99.00
  05-20-08       Occupancy Tax              Routed From Lopez Alex Of Room 1#I54               10.89
  05-20-08       Room-Group                 Kennedy Raoul #158=>MGA Entertainment             189.00




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                                                                                         Arrival date:       05-14-08
  MGA Entertainment                                                                      Departure date:     08-29-08
  16300 Roscoe Boulevard                                                                 No. in party:      0/0
  Van Nuys, CA 91406                                                                     Room No.:           9001
                                                                                         Account No.:
                                                                                          BookingNo.:
                                                                                         Page No.:              7 of 39

                                                                                          Invoice .:

  INFORMATION INVOICE                                                                                             08-06-08
  1)4k:.                                   teteretie'e::.                                                         Credits

                                            49001
  05-20-08       Occupancy Tax               Kennedy Raoul 4158—>MGA Entertainment                20,79
                                            #9001
  05-20-08       Room-Group                  Routed From Russell Jason Of Room 4162              129.00
  05-20-08       Occupancy Tax               Routed From Russell Jason Of Room 4162               14.19
  05-20-08       Room-Group                  Routed From Roth Carl Of Room #202                  189,00
  05-20-08       Occupancy Tax               Routed From Roth Carl Of Room #202                   20,79
  05-20-08       Room-Group                  Routed From Taylor Paulette Of Room #230             99.00
  05-20-08       Occupancy Tax               Routed From Taylor Paulette Of Room 4230             10,89
  05-20-08       Room-Group                  Routed From Aguiar Lauren Of Room #286              189.00
  05-20-08       Occupancy Tax               Routed From Aguiar Lauren Of Room #286               20.79
  05-20-08       Room-Group                  Routed From Hansen David Of Room 4303                99.00
  05-20-08       Occupancy Tax               Routed From Hansen David Of Room #303                10.89
  05-20-08       Room-Group                  Routed From Lybrand Steve Of Room #314               99.00
  05-20-08       Occupancy Tax               Routed From Lybrand Steve Of Room #314               10.89
  05-20-08       Room-Group                  Routed From Hartlein Brianna Of Room 4316            99.00
  05-20-08       Occupancy Tax              Routed From Hartlein Brianna Of Room #316             10.89
  05-20-08       Room-Group                 Routed From Rinker Greg Of Room 43 17                 99.00
  05-20-08       Occupancy Tax               Routed From Rinker Greg Of Room 4317                 10.89
  05-20-08       Room-Group                 Routed From Shorr Aaron Of Room 4351                  99.00
  05-20-08       Occupancy Tax              Routed From Shorr Aaron Of Room #351                  10.89
  05-20-08       Room-Group                 Routed From Harden Susan Of Room #353                 99.00
  05-20-08       Occupancy Tax              Routed From Harden Susan Of Room #353                 10.89
  05-20-08       Room-Group                 Routed From Isomoto Becky Of Room 4355                99.00
  05-20-08       Occupancy Tax              Routed From Isomoto Becky Of Room 4355                10.89
  05-20-08       Room-Group                 Routed From Nolan Torn Of Room 4403                  350.00
  05-20-08       Occupancy Tax              Routed From Nolan Torn Of Room 11403                  38.50
  05-20-08       Room-Group                 Routed From Ross Jeremy Of Room #433                 159.00
  05-20-08       Occupancy Tax              Routed From Ross Jeremy Of Room #433                  17.49
  05-20-08       Parking-Self Overnight                                                           10.00
  05-20-08       Parking-Valet Overnight    Routed From Ross Jeremy Of Room /1433                 10.00
                                            15.00 Split Into 10.00 And 5.00




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                                                                                       Arrival date:       05-14-08
  MGA Entertainment                                                                    Departure date:     08-29-08
  16300 Roscoe Boulevard                                                               No. in party:      0/0
  Van Nuys, CA 91406                                                                   Room No.:           9001
                                                                                       Account No.:
                                                                                       BookingNo.:
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  INFORMATION INVOICE                                                                                           08-06-08
  Date        Description                  Reference                                         Charges            Credits

  05-20-08       Parking-Valet Overnight    Routed From Russell Jason Of Room #162              10.00
                                            15.00 Split Into 10.00 And 5.00
  05-20-08       Parking-Valet Overnight    Routed From Roth Carl Of Room #202 15.00            10.00
                                            Split Into 10.00 And 5.00
  05-20-08       Parking-Valet Overnight    Routed From Holden Craig Of Room #104               10.00
                                            15,00 Split Into 10.00 And 5.00
  05-20-08       Parking-Valet Overnight    Routed From Taylor Paulette Of Room #230            10.00
                                            15.00 Split Into 10.00 And 5.00
  05-20-08       Parking-Valet Overnight    Routed From Harden Susan Of Room #353               10.00
                                            15.00 Split Into 10.00 And 5.00
  05-20-08       Parking-Valet Overnight    Routed From Lopez Alex Of Room #154                 10.00
                                            15.00 Split Into 10.00 And 5.00
  05-20-08       Parking-Valet Overnight    Routed From Isomoto Becky Of Room #355              10,00
                                            15.00 Split Into 10.00 And 5.00
  05-20-08       Parking-Valet Overnight    Routed From Shorr Aaron Of Room 1/351               10.00
                                            15.00 Split Into 10.00 And 5.00
  05-21-08       Comm-Long Distance         09:29 00:02:00 MGA Entertainment #5425               1.21
                                            MGA Entertainment #5425->MGA
                                            Entertainment #9001
  05-21-08       Comm-Long Distance         09:29 00:03:00 MGA Entertainment #5425               1.44
                                            MGA Entertainment #5425->MGA
                                            Entertainment #900I
  05-21-08       Comm-Long Distance         09:29 00:02:00 MGA Entertainment #5425               1.21
                                            MGA Entertainment #5425->MGA
                                            Entertainment #9001
  05-21-08       Comm-Long Distance         09:29 00:01:00 MGA Entertainment #5425               0.98
                                            MGA Entertainment #5425-MGA
                                            Entertainment #9001
  05-21-08       Comm-Long Distance         09:29 00:01:00 MGA Entertainment #5425               0.98
                                            MGA Entertainment #5425-MGA
                                            Entertainment #9001
  05-21-08       Banquet Invoice            39112                                              637.03
  05-21-08       Banquet Invoice            39434                                              508.58
  05-21-08       Comm-Long Distance         09:29 00:01:00 MGA Entertainment #5425               0.98




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                                                                                   Arrival date:      05-14-08
  MGA Entertainment                                                                Departure date:   08-29-08
  16300 Roscoe Boulevard                                                           No. in party:     0/0
  Van Nuys, CA 91406                                                               Room No.:         9001
                                                                                   Account No.:
                                                                                    BookingNo.:
                                                                                   Page No.:             9 of 39

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  INFORMATION INVOICE                                                                                      08-06-08
  Otite                               RefereneC                                          Charges           Credits

                                       MGA Entertainment 05425—>MGA
                                       Entertainment #9001
  05-21-08       Las Campanas          Linell 104: CHF,CKli 0052263 Holden Craig            76,27
                                       0104-->MGA Entertainment 09001
  05-21-08       Comm-Long Distance    09:29 00:01:00 MGA Entertainment 05425                2.84
                                       MGA Entertainment 05425=>MGA
                                       Entertainment #9001
  05-21-08       Comm-Long Distance    09:29 00:05:00 MGA Entertainment 05425                1.90
                                       MGA Entertainment 05425=>MGA
                                       Entertainment #9001
  05-21-08       Comm-Long Distance    09:29 00:05:00 MGA Entertainment 05425                1.90
                                       MGA Entertainment 05425-->MGA
                                       Entertainment #9001
  05-21-08       Banquet Invoice       D1NNER39435                                         505.73
  05-21-08       Room-Group             Routed From Holden Craig Of Room #104              189.00
  05-21-08       Occupancy Tax          Routed From Holden Craig Of Room #104               20.79
  05-21-08       Room-Group             Routed From Lopez Alex Of Room 0154                 99.00
  05-21-08       Occupancy Tax          Routed From Lopez Alex Of Room 0154                 10.89
  05-21-08       Room-Group             Kennedy Raoul #158=>MGA Entertainment              189.00
                                       119001
  05-21-08       Occupancy Tax          Kennedy Raoul 0158=>MGA Entertainment               20.79
                                       #9001
  05-21-08       Room-Group             Routed From Russell Jason Of Room #162             129,00
  05-21-08       Occupancy Tax          Routed From Russell Jason Of Room #162              14.19
  05-21-08       Room-Group             Routed From Roth Carl Of Room 0202                 189.00
  05-21-08       Occupancy Tax          Routed From Roth Carl Of Room #202                  20.79
  05-21-08       Room-Group             Routed From Franco Max Of Room #231                 99.00
  05-21-08       Occupancy Tax          Routed From Franco Max Of Room 0231                 10.89
  05-21-08       Room-Group             Routed From Aguiar Lauren Of Room 0286             189.00
  05-21-08       Occupancy Tax          Routed From Aguiar Lauren Of Room 0286              20.79
  05-21-08       Room-Group             Routed From Hansen David Of Room #303               99.00
  05-21-08       Occupancy Tax          Routed From Hansen David Of Room 0303               10.89
  05-21-08       Room-Group             Routed From Lybrand Steve Of Room 0314              99.00




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                                                                                         Arrival date:       05-14-08
  1VIGA Entertainment                                                                    Departure date:     08-29-08
  16300 Roscoe Boulevard                                                                 No. in party:      010
  Van Nuys, CA 91406                                                                     Room No.:           9001
                                                                                         Account No.:
                                                                                         BookingNo.:
                                                                                         Page No.:              10 of 39

                                                                                          Invoice .:
  INFORMATION INVOICE                                                                                              08-06-08
  Date        Description                  Reference                                          • Charges           CreOits

  05-21-08       Occupancy Tax              Routed From Lybrand Steve Of Room 11314               10.89
  05-21-08       Room-Group                 Routed From Hartlein Brianna Of Room #316             99.00
  05-21-08       Occupancy Tax               Routed From Hartlein Brianna Of Room #316            10.89
  05-21-08       Room-Group                 Routed From Rinker Greg Of Room 4317                  99.00
  05-21-08       Occupancy Tax              Routed From Rinker Greg Of Room 017                   10.89
  05-21-08       Room-Group                  Routed From Uslaner Jonathan Of Room                 99.00
                                            #3.49
  05-21-08       Occupancy Tax               Routed From Uslaner Jonathan Of Room                 10.89
                                            #349
  05-21-08       Room-Group                  Routed From Shorr Aaron Of Room 11351                99.00
  05-21-08       Occupancy Tax               Routed From Shorr Aaron Of Room 11351                10.89
  05-21-08       Room-Group                  Routed From Harden Susan Of Room 1#353               99.00
  05-21-08       Occupancy Tax               Routed From Harden Susan Of Room 4353                10.89
  05-21-08       Room-Group                  Routed From Isomoto Becky Of Room #355               99.00
  05-21-08       Occupancy Tax               Routed From Isomoto Becky Of Room #355               10.89
  05-21-08       Room-Group                  Routed From Nolan Tom Of Room #403                  350.00
  05-21-08       Occupancy Tax               Routed From Nolan Tom Of Room 11403                  38.50
  05-21-08       Room-Group                  Routed From Ross Jeremy Of Room #433                159,00
  05-21-08       Occupancy Tax               Routed From Ross Jeremy Of Room #433                 17.49
  05-21-08       Parking-Self Overnight                                                           10.00
  05-21-08       Parking-Valet Overnight    Routed From Harden Susan Of Room #353                 10.00
                                            15.00 Split Into 10.00 And 5.00
  05-21-08       Parking-Valet Overnight    Routed From Holden Craig Of Room 0104                 10.00
                                            15.00 Split Into 10.00 And 5.00
  05-21-08       Parking-Valet Overnight    Routed From Uslaner Jonathan Of Room 049              10.00
                                            15.00 Split Into 10.00 And 5.00
  05-21-08       Parking-Valet Overnight    Routed From Russell Jason Of Room 4162                10.00
                                            15.00 Split Into 10,00 And 5.00
  05-21-08       Parking-Valet Overnight    Routed From Uslaner Jonathan Of Room 11349            10.00
                                            15.00 Split Into 10.00 And 5.00
  05-21-08       Parking-Valet Overnight    Routed From Roth Carl Of Room #202 15.00              10.00
                                            Split Into 10.00 And 5.00
  05-21-08       Parking-Valet Overnight    Routed From Shorr Aaron Of Room fi351                 10,00




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                                                                                     Arrival date:        05-14-08
  MGA Entertainment                                                                  Departure date:      08-29-08
  16300 Roscoe Boulevard                                                             No. in party;       0/0
  Van Nuys, CA 91406                                                                 Room No.;            9001
                                                                                     Account No.:
                                                                                      BookingNo.:
                                                                                     Page No.:               I I. of 39

                                                                                      Invoice .:

  INFORMATION INVOICE                                                                                          08-06-08
                                                                                           Charges             Credit's

                                           15.00 Split Into 10,00 And 5.00
  05-21-08       Parking-Valet Overnight   Routed From Isomoto Becky Of Room #355             10.00
                                           15.00 Split Into 10.00 And 5.00
  05-21-08       Parking-Valet Overnight   Routed From Ross Jeremy Of Room #433               10,00
                                           15.00 Split Into 10.00 And 5.00
  05-21-08       Parking-Valet Overnight   Routed From Lopez Alex Of Room #154                10,00
                                           15.00 Split Into 10.00 And 5.00
  05-22-08       Comm-Long Distance        09:29 00:03:00 MGA Entertainment #5425              1.44
                                           MGA Entertainment #5425—>MGA
                                           Entertainment -0001
  05-22-08       Comm-Long Distance        09:29 00:06:00 MGA Entertainment #5425              2.13
                                           MGA Entertainment 85425=>MGA
                                           Entertainment #9001
  05-22-08       Comm-Long Distance        09:29 00:13:00 MGA Entertainment 115425               3.74
                                           MGA Entertainment #5425=>MGA
                                           Entertainment #9001
  05-22-08       Comm-Long Distance        09:29 00:04:00 MGA Entertainment #5425                1.67
                                           MCA Entertainment #5425=>MGA
                                           Entertainment #9001
  05-22-08       Comm-Long Distance        09:29 00:03:00 MGA Entertainment #5425                1.44
                                           MGA Entertainment #5425—>MGA
                                           Entertainment #9001
  05-22-08       Banquet Invoice           39436                                             818.81
  05-22-08       Banquet Invoice           391 13                                            906.40
  05-22-08       Comm-Long Distance        09:29 00:12:00 MGA Entertainment #5425             12.04
                                           MGA Entertainment #5425=>MGA
                                           Entertainment #9001
  05-22-08       Comm-Long Distance        09:29 00:03:00 MGA Entertainment #5425                4.51
                                           MGA Entertainment #5425=>MGA
                                           Entertainment #9001
  05-22-08       Comm-Long Distance        09:29 00:16:00 MGA Entertainment #5425                4.43
                                           MGA Entertainment #5425=>MGA
                                           Entertainment #9001
  05-22-08       Comm-Long Distance        09:29 00:03:00 MGA Entertainment #5425                1.44




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                                                                                   Arrival date:       05-14-08
  MGA Entertainment                                                                Departure date;    08-29-08
  16300 Roscoe Boulevard                                                           No. in party:      0/0
  Van Nuys, CA 91406                                                               Room No.:           9001
                                                                                   Account No.:
                                                                                   BookingNo.:
                                                                                   Page No.:              12 of 39

                                                                                    Invoice .:
  INFORMATION INVOICE                                                                                       08-06-08
                                      :Refcrcilect.:                                     Charges            Credits

                                        MGA Entertainment #5425—>MGA
                                        Entertainment 49001
  05-22-08       Comm-Long Distance     09:29 00:06:00 MGA Entertainment #5425               2.13
                                        MGA Entertainment 4-5425=>MGA
                                        Entertainment 49001
  05-22-08       Comm-Long Distance     17:40 00:02:00 Routed From MGA                       1.21
                                        Entertainment Of Room #5425
  05-22-08       Room Service           Line 104 : CHECK4 0046527 Holden Craig              57.62
                                        #104=>MGA Entertainment #9001
  05-22-08       Comm-Long Distance     18:32 00:03:00 Routed From MGA                       1.44
                                        Entertainment Of Room #5425
  05-22-08       Banquet Invoice        39437                                            1,025.43
  05-22-08       Comm-Long Distance     22:14 00:03;00 Routed From MGA                       1,44
                                        Entertainment Of Room #5425
  05-22-08       Room-Group              Routed From Holden Craig Of Room 11104            189.00
  05-22-08       Occupancy Tax           Routed From Holden Craig Of Room #104              20.79
  05-22-08       Room-Group              Routed From Lopez Alex Of Room #154                99.00
  05-22-08       Occupancy Tax           Routed From Lopez Alex Of Room #154                10.89
  05-22-08       Room-Group              Routed From Kennedy Raoul Of Room /1158           189.00
  05-22-08       Occupancy Tax           Routed From Kennedy Raoul Of Room #158             20.79
  05-22-08       Room-Group              Routed From Russell Jason Of Room #162            129.00
  05-22-08       Occupancy Tax           Routed From Russell Jason Of Room #162             14.19
  05-22-08       Room-Group              Routed From Roth Carl Of Room #202                189.00
  05-22-08       Occupancy Tax           Routed From Roth Carl Of Room #202                 20.79
  05-22-08       Room-Group              Routed From Rogosa Diana Of Room 4217              99.00
  05-22-08       Occupancy Tax           Routed From Rogosa Diana Of Room #217              10.89
  05-22-08       Room-Group              Routed From Franco Max Of Room #231                99.00
  05-22-08       Occupancy Tax           Routed From Franco Max Of Room #231                10,89
  05-22-08       Room-Group              Routed From Aguiar Lauren Of Room 4286            189.00
  05-22-08       Occupancy Tax           Routed From Aguiar Lauren Of Room #286             20.79
  05-22-08       Room-Group              Routed From Short: Aaron Of Room ff303             99.00
  05-22-08       Occupancy Tax           Routed Front Short: Aaron Of Room 4303             10.89
  05-22-08       Room-Group              Routed From Lybrand Steve Of Room #314             99.00




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                                                                                          Arrival date:       05-14-08
  MGA Entertainment                                                                       Departure dale:    08-29-08
  16300 Roscoe Boulevard                                                                  No. in party:      0/0
  Van Nuys, CA 91406                                                                      Room No.;           9001
                                                                                          Account No.:
                                                                                           BookiagNo.:
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                                                                                           Invoice
  INFORMATION INVOICE                                                                                                08-06-08
  Date        Description                  Retereucc                                            Charges              Credits

  05-22-08       Occupancy Tax               Routed From Lybrand Steve Of Room g314                  10,89
  05-22-08       Room-Group                  Routed From Hartlein Brianna Of Room 1/316              99.00
  05-22-08       Occupancy Tax               Routed From Hartlein Brianna Of Room #316               10.89
  05-22-08       Room-Group                  Routed From Rinker Greg Of Room fi317                   99.00
  05-22-08       Occupancy Tax               Routed From Rinker Greg Of Room fi317                   10.89
  05-22-08       Room-Group                  Routed From Herrington Rob Of Room #346                 99.00
  05-22-08       Occupancy Tax               Routed From Herrington Rob Of Room g346                 10.89
  05-22-08       Room-Group                  Routed From Uslaner Jonathan Of Room                    99.00
                                            #349
  05-22-08       Occupancy Tax               Routed From Uslaner Jonathan Of Room                    10.89
                                            //349
  05-22-08       Room-Group                  Routed From Harden Susan Of Room #353                 99.00
  05-22-08       Occupancy Tax               Routed From Harden Susan Of Room 11353                10.89
  05-22-08       Room-Group                  Routed From Isomoto Becky Of Room 1/355               99.00
  05-22-08       Occupancy Tax               Routed From Isomoto Becky Of Room 1/355               10.89
  05-22-08       Room-Group                  Routed From Reyes Cecilia Of Room #357                99.00
  05-22-08       Occupancy Tax               Routed From Reyes Cecilia Of Room #357                10.89
  05-22-08       Room-Group                  Routed From Lanstra Allen Of Room #379                99.00
  05-22-08       Occupancy Tax               Routed From Lanstra Allen Of Room #379                10.89
  05-22-08       Room-Group                  Routed From Nolan Tom Of Room #403                   350.00
  05-22-08       Occupancy Tax               Routed From Nolan Tom Of Room #403                    38.50
  05-22-08       Room-Group                  Routed From Ross Jeremy Of Room 11433                159.00
  05-22-08       Occupancy Tax               Routed From Ross Jeremy Of Room #433                  17.49
  05-22-08       Parking-Self Overnight                                                            10.00
  05-22-08       Parking-Self Overnight      Routed From Harden Susan Of Room #353                  5.00
                                            8.00 Split Into 5.00 And 3.00
  05-22-08       Parking-Valet Overnight    Routed From Isomoto Becky Of Room 055                    10.00
                                            15.00 Split Into 10.00 And 5.00
  05-22-08       Parking-Valet Overnight    Routed From Russell Jason Of Room 11162                  10.00
                                            15.00 Split Into 10.00 And 5.00
  05-22-08       Parking-Valet Overnight    Routed From Ross Jeremy Of Room g433                     10.00
                                            15.00 Split Into 10.00 And 5.00
  05-22-08       Parking-Valet Overnight                                                             10.00




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                                                                                       Arrival date:          05-14-08
  MGA Entertainment                                                                    Departure date:        08-29-08
  16300 Roscoe Boulevard                                                               No. in party:         0/0
  Van Nuys, CA 91406                                                                   Room No.:              9001
                                                                                       Account No.:
                                                                                        BookingNo.:
                                                                                       Page No.:                 14 of 39

                                                                                        Invoice .:
  INFORMATION INVOICE                                                                                              08-06-08
  Dat:c       :Description                                                                   Charges    :




                                           Routed From Lopez Alex Of Room #154
                                           15,00 Split Into 10,00 And 5,00
  05-22-08       Parking-Valet Overnight   Routed From Herrington Rob Of Room #346              10.00
                                           15.00 Split Into 10.00 And 5.00
  05-22-08       Parking-Valet Overnight   Routed From Rogosa Diana Of Room #217                10.00
                                           15.00 Split Into 10.00 And 5.00
  05-22-08       Parking-Valet Overnight   Routed From Reyes Cecilia Of Room #357               10.00
                                           15.00 Split Into 10.00 And 5.00
  05-22-08       Parking-Valet Overnight   Routed From Uslaner Jonathan Of Room #349            10.00
                                           15.00 Split Into 10.00 And 5.00
  05-22-08       Parking-Valet Overnight   Routed From Uslaner Jonathan Of Room #349            10.00
                                           15.00 Split Into 10.00 And 5.00
  05-22-08       Parking-Valet Overnight   Routed From Roth Carl Of Room #202 15.00             10.00
                                           Split Into 10.00 And 5.00
  05-23-08       Comm-Long Distance        08:23 00:01:00 Routed From MGA                        0.98
                                           Entertainment Of Room #5425
  05-23-08       Comm-Long Distance        10:20 00:04:00 Routed From MGA                        1.67
                                           Entertainment Of Room #5425
  05-23-08       Comm-Long Distance        10:44 00:01:00 Routed From MGA                        0.98
                                           Entertainment Of Room #5425
  05-23-08       Comm-Long Distance        11:47 00:01:00 Routed From MGA                        0,98
                                           Entertainment Of Room #5425
  05-23-08       Comm-Long Distance        11:53 00:01:00 Routed From MGA                        0.98
                                           Entertainment Of Room #5425
  05-23-08       Comm-Long Distance        12:13 00:03:00 Routed From MGA                        1.44
                                           Entertainment Of Room #5425
  05-23-08       Comm-Long Distance        13:11 00:02;00 Routed From MGA                        1.21
                                           Entertainment Of Room #5425
  05-23-08       Comm-Long Distance        13:27 00:01:00 Routed From MGA                        2.84
                                           Entertainment Of Room #5425
  05-23-08       Comm-Long Distance        13:27 00:01:00 Routed From MGA                        2.84
                                           Entertainment Of Room #5425
  05-23-08       Room Service              Linc# 104 : CHECK# 0046566 Holden Craig              27.26
                                           #104-->MGA Entertainment #9001




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                                                                                         Arrival date:       05-14-08
  MGA Entertainment                                                                      Departure date:     08-29-08
  16300 Roscoe Boulevard                                                                 No. in party:      010
  Van Nuys, CA 91406                                                                     Room No.:           9001
                                                                                         Account No.:
                                                                                          BookingNo.:
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  INFORMATION INVOICE                                                                                             08-06-08
  Date        - DesCription                 Reference                                         Charges             Credits

  05-23-08        Banquet Invoice            39114 MGA Entertainment 05425—>MGA                  906.40
                                             Entertainment #9001
  05-23-08        Banquet Invoice            39438 MGA Entertainment 115425—>MGA                 788,30
                                             Entertainment #9001
  05-23-08        Comm-Long Distance         15:08 00:03:00 Routed From MGA                        1,44
                                             Entertainment Of Room #5425
  05-23-08        Comm-Long Distance         15:22 00:03:00 Routed From MGA                        1,44
                                             Entertainment Of Room #5425
  05-23-08        Comm-Local Calls           17:28 00:06:00 Routed From MGA                        0,75
                                             Entertainment Of Room #5425
  05-23-08        Comm-Long Distance         17:31 00:03:00 Routed From MGA                        1.44
                                             Entertainment Of Room #5425
  05-23-08        Comm-Long Distance         18:51 00:01:00 Routed From MGA                        0.98
                                             Entertainment Of Room #5425
  05-23-08        Comm-Long Distance         18:56 00:05:00 Routed From MGA                        1.90
                                             Entertainment Of Room #5425
  05-23-08        Comm-Long Distance         18:58 00:01:00 Routed From MGA                        2.84
                                             Entertainment Of Room #5425
  05-23-08        Comm-Long Distance         19:17 00:05:00 Routed From MGA                        1.90
                                             Entertainment Of Room #5425
  05-23-08        Comm-Long Distance         19:29 00:08:00 Routed From MGA                        2.59
                                             Entertainment Of Room #5425
  05-23-08        Comm-Long Distance         20:10 00:05:00 Routed From MGA                        1.90
                                             Entertainment Of Room #5425
  05-23-08        Parking-Self Overnight     Ryan Routed From Nolan Tom Of Room #403               5.00
  05-23-08        Comm-Long Distance         22:53 00:15:00 Routed From MGA                        4.20
                                             Entertainment Of Room #5425
  05-23-08        Parking-Valet Overnight    Routed From Isomoto Becky Of Room #355               15.00
  05-23-08        Parking-Valet Overnight    Routed From Harden Susan Of Room #353                15.00
  05-23-08        Parking-Valet Overnight    Routed From Ustaner Jonathan Of Room #349            15.00
  05-23-08        Parking-Valet Overnight    Routed From Reyes Cecilia Of Room #357               15.00
  05-23-08        Parking-Valet Overnight    Routed From Rogosa Diana Of Room #217                15.00
  05-23-08        Parking-Valet Overnight    Routed From Lopez Alex Of Room #154                  15.00




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                                                                                          Arrival date:      05-14-08
  MGA Entertainment                                                                       Departure date:    08-29-08
  16300 Roscoe Boulevard                                                                  No. in party:     0/ 0
  Van Nuys, CA 91406                                                                      Room No.:          9001
                                                                                          Account No.:
                                                                                           BookingNo.:
                                                                                          Page No.:             16 of 39

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  INFORMATION INVOICE                                                                                             08-06-08
  Date        DeScilption         .••   .      •   .•
                                                                                                                  Credits

  05-23-08       Room-No Show               Mumford Marcus 11348-->MGA Entertainment               99.00
                                             #900I
  05-23-08       Room-Group                  Routed From Holden Craig Of Room 4104                189.00
  05-23-08       Occupancy Tax               Routed From Holden Craig Of Room #104                 20,79
  05-23-08       Room-Group                  Routed From Lopez Alex Of Room 4154                   99.00
  05-23-08       Occupancy Tax               Routed From Lopez Alex Of Room 11154                  10.89
  05-23-08       Room-Group                  Routed From Kennedy Raoul Of Room #158               189.00
  05-23-08       Occupancy Tax               Routed From Kennedy Raoul Of Room #158                20.79
  05-23-08       Room-Group                  Routed From Roth Carl Of Room /1202                  189.00
  05-23-08       Occupancy Tax               Routed From Roth Carl Of Room 11202                   20.79
  05-23-08       Room-Group                  Routed From Rogosa Diana Of Room /1217                99.00
  05-23-08       Occupancy Tax               Routed From Rogosa Diana Of Room 11217                10.89
  05-23-08       Room-Group                  Routed From Turnipsccd Alissa Of Room                 99.00
                                            4230
  05-23-08       Occupancy Tax               Routed From Turnipseed Alissa Of Room                 10.89
                                            #230
  05-23-08       Room-Group                  Routed From Franco Max Of Room #231                   99.00
  05-23-08       Occupancy Tax               Routed From Franco Max Of Room #231                   10.89
  05-23-08       Room-Group                  Routed From Aguiar Lauren Of Room 4286               189.00
  05-23-08       Occupancy Tax               Routed From Aguiar Lauren Of Room #286                20.79
  05-23-08       Room-Group                  Routed From Shorr Aaron Of Room 4303                  99.00
  05-23-08       Occupancy Tax               Routed From Shorr Aaron Of Room #303                  10.89
  05-23-08       Room-Group                  Routed From Lybrand Steve Of Room 11314               99.00
  05-23-08       Occupancy Tax               Routed From Lybrand Steve Of Room 11314               10.89
  05-23-08       Room-Group                  Routed From Hartlein Brianna Of Room 4316             99.00
  05-23-08       Occupancy Tax               Routed From Hartlein Brianna Of Room 11316            10.89
  05-23-08       Room-Group                  Routed From Rinker Greg Of Room 4317                  99.00
  05-23-08       Occupancy Tax               Routed From Rinker Greg Of Room 4317                  10,89
  05-23-08       Room-Group                  Routed From Herrington Rob Of Room #346               99.00
  05-23-08       Occupancy Tax               Routed From Herrington Rob Of Room 4346               10.89
  05-23-08       Room-Group                  Routed From Uslaner Jonathan Of Room                  99.00
                                            11349




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                                                                                        Arrival date:       05-14-08
  MGA Entertainment                                                                     Departure date:     08-29-08
  16300 Roscoe Boulevard                                                                No. in party:      0/ 0
  Van Nuys, CA 91406                                                                    Room No.:           9001
                                                                                        Account No.:
                                                                                         BookingNo.:
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                                                                                         Invoice .:
  INFORMATION INVOICE                                                                                            08-06-08
  Pate        Dekription                   Reference                                        .Charoes
                                                                                              . . :b             Credits

  05-23-08       Occupancy Tax               Routed From Uslaner Jonathan Of Room                10.89
                                            #349
  05-23-08       Room-Group                  Routed From Harden Susan Of Room #353              99.00
  05-23-08       Occupancy Tax               Routed From Harden Susan Of Room #353              10.89
  05-23-08       Room-Group                  Routed From Isomoto Becky Of Room 8355             99.00
  05-23-08       Occupancy Tax               Routed From Isomoto Becky Of Room 8355             10.89
  05-23-08       Room-Group                  Routed From Reyes Cecilia Of Room #357             99.00
  05-23-08       Occupancy Tax               Routed From Reyes Cecilia Of Room 11357            10.89
  05-23-08       Room-Group                  Routed From Lanstra Allen Of Room #379             99.00
  05-23-08       Occupancy Tax               Routed From Lanstra Allen Of Room #379             10.89
  05-23-08       Room-Group                  Routed From Nolan Tom Of Room #403                350.00
  05-23-08       Occupancy Tax               Routed From Nolan Tom Of Room #403                 38.50
  05-23-08       Parking-Self Overnight                                                         10.00
  05-23-08       Valet Parking              15.00 Split Into 10,00 And 5,00                     15.00
  05-24-08       Parking-Self Overnight     Routed From Franco Max Of Room #231                  5.00
  05-24-08       Banquet Invoice            39115 MGA Entertainment #5425=>M0A                 906.40
                                            Entertainment #9001
  05-24-08       Room Service               Line# 154 : CHECK# 0046684 Lopez Alex                 7,43
                                            #154-->MGA Entertainment #9001
  05-24-08       Parking-Valet Overnight    Routed From Roth Carl Of Room #202                   15.00
  05-24-08       Parking-Valet Overnight    Routed From Short: Aaron Of Room #303                15.00
  05-24-08       Parking-Valet Overnight    Routed From Uslaner Jonathan Of Room #349            15.00
  05-24-08       Parking-Valet Overnight    Routed From Nolan Tom Of Room #403                   15,00
  05-24-08       Parking-Valet Overnight    Routed From Reyes Cecilia Of Room #357               15,00
  05-24-08       Parking-Valet Overnight    Routed From Rogosa Diana Of Room #217                15.00
  05-24-08       Parking-Valet Overnight    Routed From Lanstra Allen Of Room #379               15.00
  05-24-08       Parking-Valet Overnight    Routed From Reyes Cecilia Of Room #357               15.00
  05-24-08       Parking-Valet Overnight    Routed From Lopez Alex Of Room #154                  15.00
  05-24-08       Parking-Valet Overnight    Routed From Mumford Marcus Of Room                   15.00
                                            #255
  05-24-08       Parking-Valet Overnight    Routed From Harden Susan Of Room #353                15.00
  05-24-08       Room-Group                 Routed From Holden Craig Of Room #104               189.00




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                                                                                         Arrival date:       05-14-08
  MGA Entertainment                                                                      Departure date:     08-29-08
  16300 Roscoe Boulevard                                                                 No. in party:      010
  Van Nuys, CA 91406                                                                     Room No.:           9001
                                                                                         Account No.:
                                                                                          BookingNo.:
                                                                                         Page No.:              18 of 39

                                                                                          Invoice .:
   INFORMATION INVOICE                                                                                            08-06-08
  Date        Description                 :Reference.;                                           • . es
                                                                                              'Charg              Credits

  05-24-08       Occupancy Tax               Routed From Holden Craig Of Room #104                20.79
  05-24-08       Room-Group                  Routed From Lopez Alex Of Room #154                  99,00
  05-24-08       Occupancy Tax               Routed From Lopez Alex Of Room 11154                 10.89
  05-24-08       Room-Group                  Routed From Kennedy Raoul Of Room 4158              189.00
  05-24-08       Occupancy Tax               Routed From Kennedy Raoul Of Room 4158               20.79
  05-24-08       Room-Group                  Routed From Roth Carl Of Room 8202                  189.00
  05-24-08       Occupancy Tax               Routed From Roth Carl Of Room #202                   20.79
  05-24-08       Room-Group                  Routed From Rogosa Diana Of Room #217                99.00
  05-24-08       Occupancy Tax               Routed From Rogosa Diana Of Room #217                10.89
  05-24-08       Room-Group                  Routed From Dozier Jason Of Room 8226                99.00
  05-24-08       Occupancy Tax               Routed From Dozier Jason Of Room #226                10.89
  05-24-08       Room-Group                  Routed From Turnipseed Alissa Of Room                99.00
                                            #230
  05-24-08       Occupancy Tax               Routed From Turnipseed Alissa Of Room                10.89
                                            4230
  05-24-08       Room-Group                  Routed From Franco Max Of Room #231                  99.00
  05-24-08       Occupancy Tax               Routed From Franco Max Of Room #231                  10.89
  05-24-08       Parking-Self Overnight      Routed From Franco Max Of Room #231                   5.00
  05-24-08       Room-Group                  Routed From Mumford Marcus Of Room                   99.00
                                            #255
  05-24-08       Occupancy Tax               Routed From Mumford Marcus Of Room                   10.89
                                            #255
  05-24-08       Room-Group                  Routed From Aguiar Lauren Of Room 8286              189.00
  05-24-08       Occupancy Tax               Routed From Aguiar Lauren Of Room 8286               20.79
  05-24-08       Room-Group                  Routed From Shorr Aaron Of Room 4303                 99.00
  05-24-08       Occupancy Tax               Routed From Shorr Aaron Of Room 4303                 10.89
  05-24-08       Room-Group                  Routed From Lybrand Steve Of Room #314               99.00
  05-24-08       Occupancy Tax               Routed From Lybrand Steve Of Room #314               10.89
  05-24-08       Room-Group                  Routed From Hartlein Brianna Of Room #316            99,00
  05 -24-08      Occupancy Tax               Routed From Hartlein Brianna Of Room 8316            10.89
  05-24-08       Room-Group                  Routed From Rinker Greg Of Room 8317                 99.00
  05-24-08       Occupancy Tax               Routed From Rinker Greg Of Room #317                 10.89




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                                                                                       Arrival date:      05-14-08
  MGA Entertainment                                                                    Departure date:   08-29-08
  16300 Roscoe Boulevard                                                               No, in party:     0/0
  Van Nuys, CA 91406                                                                   Room No.:         9001
                                                                                       Account No.:
                                                                                        BookingNo.:
                                                                                       Page No.:             19 of 39

                                                                                        Invoice .:
  INFORMATION INVOICE                                                                                          08-06-08
  Date        I)eseription                 Reference                                         C1)a rges         Credits

  05-24-08       Room-Group                  Routed From Herrington Rob Of Room #346            99,00
  05-24-08       Occupancy Tax               Routed From Herrington Rob Of Room #346            10,89
  05-24-08       Room-Group                  Routed From Uslaner Jonathan Of Room               99.00
                                            #349
  05-24-08       Occupancy Tax               Routed From Uslaner Jonathan Of Room               10.89
                                            14349
  05-24-08       Room-Group                  Routed From Harden Susan Of Room #353              99.00
  05-24-08       Occupancy Tax               Routed From Harden Susan Of Room #353              10.89
  05-24-08       Room-Group                  Routed From Isomoto Becky Of Room /1355            99.00
  05-24-08       Occupancy Tax               Routed From lsomoto Becky Of Room /1355            10.89
  05-24-08       Room-Group                  Routed From Reyes Cecilia Of Room 4357             99.00
  05-24-08       Occupancy Tax               Routed From Reyes Cecilia Of Room 4357             10.89
  05-24-08       Room-Group                  Routed From Lanstra Allen Of Room 4379             99.00
  05-24-08       Occupancy Tax               Routed From Lanstra Allen Of Room 41379            10.89
  05-24-08       Room-Group                  Routed From Nolan Tom Of Room 4403                350.00
  05-24-08       Occupancy Tax               Routed From Nolan Tom Of Room 4403                 38.50
  05-24-08       Parking-Self Overnight                                                         10.00
  05-25-08       Comm-Long Distance         13:02 00:01:00 Routed From MGA                       0.98
                                            Entertainment Of Room 45425
  05-25-08       Comm-Local Calls           14:15 00:11:00 Routed From MGA                       0.75
                                            Entertainment Of Room 45425
  05-25-08       Comm-Local Calls           14:29 00:03:00 Routed From MGA                       0.75
                                            Entertainment Of Room 115425
  05-25-08       Banquet Invoice            39116                                              969.54
  05-25-08       Comm-Long Distance         17:32 00:04:00 Routed From MGA                       1.67
                                            Entertainment Of Room 45425
  05-25-08       Room Service               Line/ 104 : CHECKff 0046751 Holden Craig            70.02
                                              04--->MGA Entertainment 49001
  05-25-08       Comm-Long Distance         23:48 00:12:00 Routed From MGA                       3.51
                                            Entertainment Of Room #5425
  05-25-08       Parking-Valet Overnight    Routed From Holden Craig Of Room /1104              15.00
  05-25-08       Parking-Valet Overnight    Routed From Harden Susan Of Room 1/353              15.00
  05-25-08       Parking-Valet Overnight    Routed From Roth Carl Of Room 4202                  15.00




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                                                                                       Arrival (late:      05-14-08
  MGA Entertainment                                                                    Departure date:     08-29-08
  16300 Roscoe Boulevard                                                               No. in party:      0/0
  Van Nuys, CA 91406                                                                   Room No.:           9001
                                                                                       Account No.:
                                                                                        BookingNo.:
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  INFORMATION INVOICE                                                                                           08-06-08
  Date        Description                  Reference                                         ChargeS            Credits

  05-25-08       Parking-Valet Overnight    Routed From Shorr Aaron Of Room #303                  15.00
  05-25-08       Parking-Valet Overnight    Routed From Nolan Tom Of Room #403                    15.00
  05-25-08       Parking-Valet Overnight    Routed From Reyes Cecilia Of Room #357                15.00
  05-25-08       Parking-Valet Overnight    Routed From Rogosa Diana Of Room #217                 15.00
  05-25-08       Parking-Valet Overnight    Routed From Herrington Rob Of Room #346               15.00
  05-25-08       Parking-Valet Overnight    Routed From Holden Craig Of Room #104                 15.00
  05-25-08       Parking-Valet Overnight    Routed From Lopez Alex Of Room i1154                  15.00
  05-25-08       Parking-Valet Overnight    Routed From Mumford Marcus Of Room                    15.00
                                            41255
  05-25-08       Room-Group                  Routed From Holden Craig Of Room 11104            189,00
  05-25-08       Occupancy Tax               Routed From Holden Craig Of Room #104              20.79
  05-25-08       Room-Group                  Routed From Lopez Alex Of Room #154                99.00
  05-25-08       Occupancy Tax               Routed From Lopez Alex Of Room #154                10.89
  05-25-08       Room-Group                  Routed From Kennedy Raoul Of Room I1158           189.00
  05-25-08       Occupancy Tax               Routed From Kennedy Raoul Of Room #158             20.79
  05-25-08       Room-Group                  Routed From Roth Carl Of Room #202                189.00
  05-25-08       Occupancy Tax               Routed From Roth Carl Of Room ii202                20.79
  05-25-08       Room-Group                  Routed From Rogosa Diana Of Room #217              99.00
  05-25-08       Occupancy Tax               Routed From Rogosa Diana Of Room #217              10.89
  05-25-08       Room-Group                  Routed From Bryant Carter Of Room #227            189.00
  05-25-08       Occupancy Tax               Routed From Bryant Carter Of Room #227             20.79
  05-25-08       Room-Group                  Routed From Turnipseed Alissa Of Room              99.00
                                            #230
  05-25-08       Occupancy Tax               Routed From Turnipseed Alissa Of Room                10.89
                                            #230
  05-25-08       Room-Group                  Routed From Franco Max Of Room #231                  99.00
  05-25-08       Occupancy Tax               Routed From Franco Max Of Room #231                  10.89
  05-25-08       Parking-Self Overnight      Routed From Franco Max Of Room #231                   5.00
  05-25-08       Room-Group                  Routed From Sloan Matt Of Room #239                  99.00
  05-25-08       Occupancy Tax               Routed From Sloan Matt Of Room #239                  10.89
  05-25-08       Room-Group                  Routed From Dozier Jason Of Room #240                99.00
  05-25-08       Occupancy Tax               Routed From Dozier Jason Of Room #240                10.89




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                                                                                           Arrival date:        05-14-08
  MGA Entertainment                                                                        Departure date:      08-29-08
  16300 Roscoe Boulevard                                                                   No. in party:       0/0
  Van Nuys, CA 91406                                                                       Room No.:            9001
                                                                                           Account No.:
                                                                                            BookingNo.:
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   INFORMATION INVOICE                                                                                               08-06-08
                           •••            •   elcreiice                                         :   01#g :           Credits


  05-25-08       Room-Group                    Routed From Mumford Marcus Of Room                     99.00
                                              #255
  05-25-08       Occupancy Tax                 Routed From Mumford Marcus Of Room                     10.89
                                              #255
  05-25-08       Room-Group                    Routed From Aguiar Lauren Of Room #286                189.00
  05-25-08       Occupancy Tax                 Routed From Aguiar Lauren Of Room #286                 20.79
  05-25-08       Room-Group                    Routed From Shorr Aaron Of Room #303                   99.00
  05-25-08       Occupancy Tax                 Routed From Shorr Aaron Of Room #303                   10,89
  05-25-08       Room-Group                    Routed From Lybrand Steve Of Room #314                 99.00
  05-25-08       Occupancy Tax                 Routed From Lybrand Steve Of Room #314                 10.89
  05-25-08       Room-Group                    Routed From Hartlein Brianna Of Room #316              99.00
  05-25-08       Occupancy Tax                 Routed From Hartlein Brianna Of Room #316              10.89
  05-25-08       Room-Group                    Routed From Rinker Greg Of Room #317                   99.00
  05-25-08       Occupancy Tax                 Routed From Rinker Greg Of Room #317                   10.89
  05-25-08       Room-Group                    Routed From Herrington Rob Of Room #346                99.00
  05-25-08       Occupancy Tax                 Routed From Herrington Rob Of Room #346                10.89
  05-25-08       Room-Group                    Routed From Uslaner Jonathan Of Room                   99.00
                                              #349
  05-25-08       Occupancy Tax                 Routed From Uslaner Jonathan Of Room                   10.89
                                              #349
  05-25-08       Room-Group                    Routed From Harden Susan Of Room #353                  99.00
  05-25-08       Occupancy Tax                 Routed From Harden Susan Of Room #353                  10.89
  05-25-08       Room-Group                    Routed From lsomoto Becky Of Room #355                 99.00
  05-25-08       Occupancy Tax                 Routed From Isomoto Becky Of Room #355                 10.89
  05-25-08       Room-Group                    Routed From Reyes Cecilia Of Room 4357                 99.00
  05-25-08       Occupancy Tax                 Routed From Reyes Cecilia Of Room #357                 10.89
  05-25-08       Room-Group                    Routed From Lanstra Allen Of Room #379                 99.00
  05-25-08       Occupancy Tax                 Routed From Lanstra Allen Of Room #379                 10.89
  05-25-08       Room-Group                    Routed From Nolan Tom Of Room #403                    350.00
  05-25-08       Occupancy Tax                 Routed From Nolan Tom Of Room #403                     38.50
  05-25-08       Parking-Self Overnight                                                               10,00
  05-26-08       Banquet Invoice              39482                                                  100.00




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                                                                                        Arrival date:        05-14-08
  MGA Entertainment                                                                     Departure date:      08-29-08
  16300 Roscoe Boulevard                                                                No. in party:       010
  Van Nuys, CA 91406                                                                    Room No.:            9001
                                                                                        Account No.:
                                                                                         BookingNo.:
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  INFORMATION INVOICE                                                                                             08-06-08
                                           Reference'                                         Char e.s.           Credits

  05-26-08       Banquet Invoice            39481                                               820,09
  05-26-08       Banquet Invoice            39117                                             1,039.90
  05-26-08       Comm-Long Distance         17:41 00:34:00 Routed From MGA                        8.57
                                            Entertainment Of Room #5425
  05-26-08       Comm-Long Distance         17:42 00:01:00 Routed From MGA                        2.84
                                            Entertainment Of Room 9-5425
  05-26-08       Comm-Long Distance         17:43 00:05:00 Routed From MGA                        1.90
                                            Entertainment Of Room #5425
  05-26-08       Comm-Long Distance         17:43 00:01:00 Routed From MGA                        0.98
                                            Entertainment Of Room #5425
  05-26-08       Comm-Long Distance         17:43 00:02:00 Routed From MGA                          1.21
                                            Entertainment Of Room #5425
  05-26-08       Comm-Long Distance         17:44 00:03:00 Routed From MGA                        1.44
                                            Entertainment Of Room #5425
  05-26-08       Parking-Valet Overnight    Routed From Roth Carl Of Room #202                   15.00
  05-26-08       Parking-Valet Overnight    Routed From Shorr Aaron Of Room #303                 15.00
  05-26-08       Parking-Valet Overnight    Routed From Reyes Cecilia Of Room #357               15.00
  05-26-08       Parking-Valet Overnight    Routed From Rogosa Diana Of Room #217                15.00
  05-26-08       Parking-Valet Overnight    Routed From Herrington Rob Of Room #346              15.00
  05-26-08       Parking-Valet Overnight    Routed From Larian Isaac Of Room #417                15.00
  05-26-08       Parking-Valet Overnight    Routed From Mumford Marcus Of Room                   15.00
                                            #255
  05-26-08       Parking-Valet Overnight    Routed From Holden Craig Of Room #104                15.00
  05-26-08       Parking-Valet Overnight    Routed From Uslaner Jonathan Of Room #349            15.00
  05-26-08       Parking-Valet Overnight    Routed From Nolan Toni Of Room #403                  15.00
  05-26-08       Parking-Valet Overnight    Routed From Isomoto Becky Of Room #355               15.00
  05-26-08       Parking-Valet Overnight    Routed From Harden Susan Of Room #353                15.00
  05-26-08       Parking-Valet Overnight    Routed From Aguiar Lauren Of Room #286               15.00
  05-26-08       Room-Group                  Routed From Holden Craig Of Room #I04              189.00
  05-26-08       Occupancy Tax               Routed From Holden Craig Of Room #104               20.79
  05-26-08       Room-Group                  Routed From Russell Jason Of Room 4126              99.00
  05-26-08       Occupancy Tax               Routed From Russell Jason Of Room 4126              10.89
  05-26-08       Room-Group                  Routed From Lopez Alex Of Room li154                99.00




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                                                                                                                                                                     Arrival date:               05-14-08
  MGA Entertainment                                                                                                                                                  Departure date:             08-29-08
  16300 Roscoe Boulevard                                                                                                                                             No. in party:              0/0
  Van Nuys, CA 91406                                                                                                                                                 Room No.:                   9001
                                                                                                                                                                     Account No.:
                                                                                                                                                                      BookingNo.:
                                                                                                                                                                     Page No.:                      23 of 39

                                                                                                                                                                      Invoice .:

  INFORMATION INVOICE                                                                                                                                                                                 08-06-08
  Date    Description                                                :::1R0fCrenees                                                                                           arges ,                 Credits

  05-26-08                    Occupancy Tax                               Routed From Lopez. Alex Of Room 4154                                                                10.89
  05-26-08                    Room-Group                                 Routed From Kennedy Raoul Of Room 4158                                                              189.00
  05-26-08                    Occupancy Tax                               Routed From Kennedy Raoul Of Room #158                                                              20.79
  05-26-08                    Room-Group                                  Routed From Roth Carl Of Room 4202                                                                 189.00
  05-26-08                    Occupancy Tax                               Routed From Roth Carl Of Room #202                                                                  20.79
  05-26-08                    Room-Group                                  Routed From Rogosa Diana Of Room #217                                                               99.00
  05-26-08                    Occupancy Tax                               Routed From Rogosa Diana Of Room 4217                                                               10.89
  05-26-08                    Room-Group                                  D'Avolio Lisa #223=>MGA Entertainment                                                               99.00
                                                                         #9001
  05-26-08                     Occupancy Tax                              D'Avolio Lisa 4223.--->MGA Entertainment                                                            10,89
                                                                         49001
  05-26-08                     Room-Group                                 Routed From Bryant Carter Of Room #227                                                             189.00
  05-26-08                     Occupancy Tax                              Routed From Bryant Carter Of Room #227                                                              20.79
  05-26-08                     Room-Group                                 Routed From Turnipseed Alissa Of Room                                                               99.00
                                                                         #2.30
  05-26-08                     Occupancy Tax                              Routed From Turnipsecd Alissa Of Room                                                                10.89
                                                                         #230
  05-26-08                     Room-Group                                 Routed From Franco Max Of Room 4231                                                                 99.00
  05-26-08                     Occupancy Tax                              Routed From Franco Max Of Room 11231                                                                10.89
  05-26-08                     Parking-Self Overnight                     Routed From Franco Max Of Room 4231                                                                  5.00
  05-26-08                     Room-Group                                 Routed From Sloan Matt Of Room 4239                                                                 99.00
  05-26-08                     Occupancy Tax                              Routed From Sloan Matt Of Room #239                                                                 10.89
  05-26-08                     Room-Group                                 Routed From Dozier Jason Of Room #240                                                               99.00
  05-26-08                     Occupancy Tax                              Routed From Dozier Jason Of Room #240                                                               10.89
  05-26-08                     Room-Group                                 Routed From Mumford Marcus Of Room                                                                  99.00
                                                                         #255
  05-26-08                     Occupancy Tax                              Routed From Mumford Marcus Of Room                                                                   10.89
                                                                         #255
  05-26-08                        Room-Group                              Routed From Aguiar Lauren Of Room #286                                                             189.00
  05-26-08                        Occupancy Tax                           Routed From Aguiar Lauren Of Room #286                                                               20.79
  05-26-08                        Room-Group                              Routed From Shorr Aaron Of Room #303                                                                 99.00
  05-26-08                        Occupancy Tax                           Routed From Shorr Aaron Of Room #303                                                                 10.89
  05-26-08                        Room-Group                              Routed From Lybrand Steve Of Room #314                                                               99.00
     .,.....,....._____   ...... _______ ____ _____ ____ _____ _._   _                    ..._ _____ ..................__...„.....„._____.........................           ......____....._




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                                         #:324998




                                                                                        Arrival date:        05-14-08
  MGA Entertainment                                                                     Departure date:      08-29-08
  16300 Roscoe Boulevard                                                                No. in party:       0/0
  Van Nuys, CA 91406                                                                    Room No.:           9001
                                                                                        Account No.:
                                                                                         BookingNo.:
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                                                                                         Invoice .:

  INFORMATION INVOICE                                                                                              08-06 -08
  Date    Description                     .Referehte:                                        `Charges              Credits

  05-26-08       Occupancy Tax              Routed From Lybrand Steve Of Room #314               10.89
  05-26-08       Room-Group                 Routed From Hartlein Brianna Of Room #316            99,00
  05-26-08       Occupancy Tax              Routed From Mullein Brianna Of Room #316             10,89
  05-26-08       Room-Group                 Routed From Rinker Greg Of Room #317                 99.00
  05-26-08       Occupancy Tax              Routed From Rinker Greg Of Room #317                 10.89
  05-26-08       Room-Group                 Routed From Herrington Rob Of Room #346              99.00
  05-26-08       Occupancy Tax              Routed From Herrington Rob Of Room #346              10.89
  05-26-08       Room-Group                 Routed From Uslaner Jonathan Of Room                 99.00
                                            #349
  05-26-08       Occupancy Tax              Routed From Uslaner Jonathan Of Room                 10.89
                                            #349
  05-26-08       Room-Group                 Routed From Harden Susan Of Room 11353               99.00
  05-26-08       Occupancy Tax              Routed From Harden Susan Of Room #353                10.89
  05-26-08       Room-Group                 Routed From 'somata Becky Of Room #355               99.00
  05-26-08       Occupancy Tax              Routed From Isomato Becky Of Room #355               10,89
  05-26-08       Room-Group                 Routed From Reyes Cecilia Of Room 11357              99.00
  05-26-08       Occupancy Tax              Routed From Reyes Cecilia Of Room #357               10.89
  05-26-08       Room-Group                 Routed From Lanstra Allen Of Room #379               99.00
  05-26-08       Occupancy Tax              Routed From Lanstra Allen Of Room #379               10.89
  05-26-08       Room-Group                 Routed From Nolan Tom Of Room #403                  350.00
  05-26-08       Occupancy Tax              Routed From Nolan Tom Of Room #403                   38.50
  05-26-08       Room-Group                  Routed From Larian Isaac Of Room #417              199.00
  05-26-08       Occupancy Tax               Routed From Larian Isaac Of Room #417               21.89
  05-26-08       Parking-Self Overnight                                                          10.00
  05-27-08       Comm-Long Distance         08:38 00:01:00 Routed From MGA                        0.98
                                            Entertainment Of Room #5425
  05-27-08       Comm-Long Distance         08:38 00:01:00 Routed From MGA                          0.98
                                            Entertainment Of Room #5425
  05-27-08       Comm-Long Distance         08:38 00:06:00 Routed From MGA                          2.13
                                            Entertainment Of Room #5425
  05-27-08       Comm-Long Distance         08:38 00:03:00 Routed From MGA                          1.44
                                            Entertainment Of Room #5425
  05-27-08       Comm-Long Distance                                                                 1.44




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                                           #:324999




                                                                                         Arrival date:       05 14 08
                                                                                                               -    -


  MGA Entertainment                                                                      Departure date:     08 29 08
                                                                                                               -    -

  16300 Roscoe Boulevard                                                                 No. in party:      0/0
  Van Nuys, CA 91406                                                                     Room No.:           9001
                                                                                         Account No.:
                                                                                          BookingNo.:
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                                                                                          Invoice .:
   INFORMATION INVOICE                                                                                                  08-06-08
  Date        Description                  12.eferC4ce                                         Charges              Credits

                                             08:39 00:03:00 Routed From MGA
                                             Entertainment Of Room #5425
  05-27-08       Comm-Long Distance          11:57 00:05:00 Routed From MGA                        1.90
                                             Entertainment Of Room #5425
  05-27-08       Comm-Local Calls            12:26 00:01:00 Routed From MGA                        0.75
                                             Entertainment Of Room #5425
  05-27-08       Comm-Local Calls            12:33 00:01:00 Routed From MGA                        0.75
                                             Entertainment Of Room #5425
  05-27-08       Comm-Long Distance          12:53 00:01:00 Routed From MGA                        0.98
                                             Entertainment Of Room #5425
  05-27-08       Banquet Invoice             39513                                               826.44
  05-27-08       Comm-Local Calls            13:45 00:19:00 Routed From MGA                        0.75
                                             Entertainment Of Room #5425
  05-27-08       Mission Inn Restaurant      Line 104: CHECK# 0011698 Holden Craig                29.97
                                             #104.->MGA Entertainment #9001
  05-27-08       Banquet Invoice             39118                                               982.68
  05-27-08       Comm-Long Distance          16:35 00:02:00 Routed From MGA                        1.21
                                             Entertainment Of Room #5425
  05-27-08       Comm-Long Distance          16:39 00:04:00 Routed From MGA                        1.67
                                             Entertainment Of Room #5425
  05-27-08       Comm-Long Distance          16:57 00:01:00 Routed From MGA                        0.98
                                             Entertainment Of Room #5425
  05-27-08       Comm-Long Distance          19:23 00:04:00 Routed From MGA                        1.67
                                             Entertainment Of Room #5425
  05-27-08       Banquet Invoice             39488                                             1,071.20
  05-27-08       Parking-Valet Overnight     Routed From Uslaner Jonathan Of Room #349            15.00
  05-27-08       Parking-Valet Overnight     Routed From Nolan Tom Of Room #403                   15.00
  05-27-08       Parking-Valet Overnight     Routed From Isomoto Becky Of Room #1355              15.00
  05-27-08       Parking-Valet Overnight     Routed From Holden Craig Of Room #104                15.00
  05-27-08       Parking-Valet Overnight     Routed From Harden Susan Of Room #353                15.00
  05-27-08       Parking-Valet Overnight     Routed From Lopez Alex Of Room #154                  15.00
  05-27-08       Parking-Valet Overnight     Routed From Roth Carl Of Room #202                   15.00
  05-27-08       Parking-Valet Overnight     Routed From Shorr Aaron Of Room #303                 15.00




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                                                                                         Arrival date:       05.,14-08
  MGA Entertainment                                                                      Departure date:    08-29-08
  16300 Roscoe Boulevard                                                                 No. in party:      0/0
  Van Nuys, CA 91406                                                                     Room No.:          9001
                                                                                         Account No.:
                                                                                          BookiugNo.:
                                                                                         Page No.:               26 of 39

                                                                                          Invoice
  INFORMATION INVOICE                                                                                              08-06-08
  Date        Description                  :1"(0.e!;00&:•:                                    Char es:            CreditS'

  05-27-08       Parking-Valet Overnight      Routed From Reyes Cecilia Of Room #357                15.00
  05-27-08       Parking-Valet Overnight      Routed From Rogosa Diana Of Room #217                 15.00
  05-27-08       Parking-Valet Overnight      Routed From Herrington Rob Of Room #346               15.00
  05-27-08       Parking-Valet Overnight      Routed From Mumford Marcus Of Room                    15.00
                                              #255
  05-27-08       Room-Group                    Routed From Holden Craig Of Room 11104            189.00
  05-27-08       Occupancy Tax                 Routed From Holden Craig Of Room 4104              20,79
  05-27-08       Room-Group                    Routed From Russell Jason Of Room #126             99.00
  05-27-08       Occupancy Tax                 Routed From Russell Jason Of Room 11126            10.89
  05-27-08       Room-Group                    Routed From Lopez Alex Of Room #154                99.00
  05-27-08       Occupancy Tax                 Routed From Lopez Alex Of Room #154                10.89
  05-27-08       Room-Group                    Routed From Kennedy Raoul Of Room #158            189.00
  05-27-08       Occupancy Tax                 Routed From Kennedy Raoul Of Room 1f158            20.79
  05-27-08       Room-Group                    Routed From Roth Carl Of Room 11202               189.00
  05-27-08       Occupancy Tax                 Routed From Roth Carl Of Room 11202                20.79
  05-27-08       Room-Group                    Routed From Rogosa Diana Of Room #217              99.00
  05-27-08       Occupancy Tax                 Routed From Rogosa Diana Of Room #217              10.89
  05-27-08       Room-Group                    D'Avolio Lisa 11223=>MCiA Entertainment            99.00
                                              #9001
  05-27-08       Occupancy Tax                D'Avolio Lisa #223=>MGA Entertainment                 10.89
                                              #9001
  05-27-08       Room-Group                   Routed From Bryant Carter Of Room #227             189.00
  05-27-08       Occupancy Tax                Routed From Bryant Carter Of Room #227              20.79
  05-27-08       Room-Group                   Routed From Turnipseed Alissa Of Room               99.00
                                              #230
  05-27-08       Occupancy Tax                Routed From Turnipseed Alissa Of Room                 10.89
                                              #230
  05-27-08       Room-Group                   Routed From Franco Max Of Room #23 I                  99.00
  05-27-08       Occupancy Tax                Routed From Franco Max Of Room #23I                   10.89
  05-27-08       Parking-Self Overnight       Routed From Franco Max Of Room //23 I                  5.00
  05-27-08       Room-Group                   Routed From Garcia Paula Of Room /1237                99.00
  05-27-08       Occupancy Tax                Routed From Garcia Paula Of Room 11237                10.89




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                                                                                  Arrival date:       05-14-08
  MGA Entertainment                                                               Departure date:     08-29-08
  16300 Roscoe Boulevard                                                          No. in party:      0/0
  Van Nuys, CA 91406                                                              Room No.:           9001
                                                                                  Account No.:
                                                                                   BookingNo.:
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                                                                                   Invoice .:
  INFORMATION INVOICE                                                                                      08-06-08
  Date        Description          Reference '                                         .Charges:           Credits

  05-27-08       Room-Group          Routed From Sloan Mau Of Room #239                    99.00
  05-27-08       Occupancy Tax       Routed From Sloan Matt Of Room #239                   10.89
  05-27-08       Room-Group          Routed From Dozier Jason Of Room #240                 99.00
  05-27-08       Occupancy Tax       Routed From Dozier Jason Of Room #240                 10.89
  05-27-08       Room-Group          Routed From Proof Michael Of Room #249                99.00
  05-27-08       Occupancy Tax       Routed From Proof Michael Of Room #249                10.89
  05-27-08       Room-Group          Routed From Mumford Marcus Of Room                    99.00
                                    #255
  05-27-08       Occupancy Tax       Routed From Mumford Marcus Of Room                    10.89
                                    #255
  05-27-08       Room-Group          Routed From Aguiar Lauren Of Room #286               189.00
  05-27-08       Occupancy Tax       Routed From Aguiar Lauren Of Room #286                20.79
  05-27-08       Room-Group          Routed From Shorr Aaron Of Room #303                  99.00
  05-27-08       Occupancy Tax       Routed From Shorr Aaron Of Room #303                  10.89
  05-27-08       Room-Group          Routed From Lybrand Steve Of Room #314                99.00
  05-27-08       Occupancy Tax       Routed From Lybrand Steve Of Room #314                10.89
  05-27-08       Room-Group          Routed From Hartlein Brianna Of Room #3 16            99.00
  05-27-08       Occupancy Tax       Routed From Hartlein Brianna Of Room #316             10.89
  05-27-08       Room-Group          Routed From Rinker Greg Of Room #317                  99.00
  05-27-08       Occupancy Tax       Routed From Rinker Greg Of Room #317                  10.89
  05-27-08       Room-Group          Routed From Herrington Rob Of Room #346               99,00
  05-27-08       Occupancy Tax       Routed From Herrington Rob Of Room #346               10.89
  05-27-08       Room-Group          Routed From Uslaner Jonathan Of Room                  99.00
                                    #349
  05-27-08       Occupancy Tax       Routed From Uslaner Jonathan Of Room                  10.89
                                    #349
  05-27-08       Room-Group          Routed From Harden Susan Of Room #353                 99.00
  05-27-08       Occupancy Tax       Routed From Harden Susan Of Room #353                 10.89
  05-27-08       Room-Group          Routed From Isomoto Becky Of Room #355                99.00
  05-27-08       Occupancy Tax       Routed From Isomoto Becky Of Room #355                10.89
  05-27-08       Room-Group          Routed From Reyes Cecilia Of Room #357                99.00
  05-27-08       Occupancy Tax       Routed From Reyes Cecilia Of Room #357                10.89




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                                                                                          Arrival date:       05-14-08
  MGA Entertainment                                                                       Departure date:     08-29-08
  16300 Roscoe Boulevard                                                                  No. in party:      010
  Van Nuys, CA 91406                                                                      Room No.:           9001
                                                                                          Account No.:
                                                                                           BookingNo.:
                                                                                          Page No.:              28 of 39

                                                                                           Invoice .:
  INFORMATION INVOICE                                                                                               08-06-08
  Date        Description                 .• ••..•.. • •

  05-27-08       Room-Group                      Routed From Lanstra Allen Of Room #379            99.00
  05-27-08       Occupancy Tax                   Routed From Lanstra Allen Of Room #379            10.89
  05-27-08       Room-Group                      Routed From Nolan Tom Of Room #403               350.00
  05-27-08       Occupancy Tax                   Routed From Nolan Tom Of Room #403                38.50
  05-27-08       Parking-Self Overnight                                                            10.00
  05-28-08       Comm-Long Distance             08:20 00:01:00 Routed From MGA                      0.98
                                                Entertainment Of Room #5425
  05-28-08       Comm-Long Distance             08:20 00:03:00 Routed From MGA                      1.44
                                                Entertainment Of Room #5425
  05-28-08       Comm-Long Distance             10:08 00:01:00 Routed From MGA                      0.98
                                                Entertainment Of Room #5425
  05-28-08       Comm-Long Distance             10:51 00:01:00 Routed From MGA                      0.98
                                                Entertainment Of Room #5425
  05-28-08       Comm-Long Distance             10:51 00:01:00 Routed From MGA                      0.98
                                                Entertainment Of Room #5425
  05-28-08       Comm-Long Distance             10:55 00:04:00 Routed From MGA                      1.67
                                                Entertainment Of Room #5425
  05-28-08       Comm-Local Calls               11:05 00:03:00 Routed From MGA                      0.75
                                                Entertainment Of Room #5425
  05-28-08       Comm-Long Distance             12:23 00:01:00 Routed From MGA                      0.98
                                                Entertainment Of Room #5425
  05-28-08       Comm-Long Distance             12:25 00:01:00 Routed From MGA                      0.98
                                                Entertainment Of Room #5425
  05-28-08       Comm-Local Calls               12:30 00:02:00 Routed From MGA                      0.75
                                                Entertainment Of Room #5425
  05-28-08       Comm-Long Distance             13:06 00:01:00 Routed From MGA                      0.98
                                                Entertainment Of Room 0425
  05-28-08       Comm-Long Distance             13:19 00:01:00 Routed From MGA                      0.98
                                                Entertainment Of Room #5425
  05-28-08       Room Service                   Line# 104 C1-IECK# 0046847 Holden Craig            62.58
                                                #104—>MGA Entertainment 119001
  05-28-08       Banquet Invoice                39119 MGA Entertainment 05425-->MGA             1,001,75
                                                Entertainment #9001




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                                                                                          Arrival date:       05-14-08
  MGA Entertainment                                                                       Departure dale;     08-29-08
  16300 Roscoe Boulevard                                                                  No. in party:      010
  Van Nuys, CA 91406                                                                      Room No.:           9001
                                                                                          Account No.:
                                                                                           BookingNo.:
                                                                                          Page No,:              29 of 39

                                                                                           Invoice .:
  INFORMATION INVOICE                                                                                              08-06-08
  bate        Description                  .11e1Creice                                          Charges            Credits

  05-28-08       Banquet Invoice             39514 MGA Entertainment 115425—>MGA                  712.01
                                             Entertainment #900I
  05-28-08       Comm-Long Distance          17:34 00:07:00 Routed From MGA                         7.86
                                             Entertainment Of Room 415425
  05-28-08       Room Service                Lineff 137 : CHECK# 0046885 Pimbeltan                 22.82
                                             Ninette #137=>MGA Entertainment 49001
  05-28-08       Room Service                Line 104: CHECK# 0046891 Holden Craig                 31.29
                                             Al 04=>MGA Entertainment #9001
  05-28-08       Comm-Long Distance          21:41 00:01:00 Routed From MGA                         0.98
                                             Entertainment Of Room #5425
  05-28-08       Banquet Invoice             39490                                                854.41
  05-28-08       Parking-Valet Overnight     Routed From Mumford Marcus Of Room                    15.00
                                             #255
  05-28-08       Parking-Valet Overnight     Routed From Shorr Aaron Of Room 4303                  15.00
  05-28-08       Parking-Valet Overnight     Routed From Roth Carl Of Room 4202                    15.00
  05-28-08       Parking-Valet Overnight     Routed From Uslaner Jonathan Of Room /1349            15.00
  05-28-08       Parking-Valet Overnight     Routed From Harden Susan Of Room 4353                 15.00
  05-28-08       Parking-Valet Overnight     Routed From Holden Craig Of Room #104                 15.00
  05-28-08       Parking-Valet Overnight     Routed From Nolan Tom Of Room #403                    15.00
  05-28-08       Parking-Valet Overnight     Routed From Isomoto Becky Of Room #355                15.00
  05-28-08       Parking-Valet Overnight     Routed From Lopez Alex Of Room 4154                   15.00
  05-28-08       Parking-Valet Overnight     Routed From Reyes Cecilia Of Room #357                15.00
  05-28-08       Parking-Valet Overnight     Routed From Rogosa Diana Of Room #217                 15.00
  05-28-08       Parking-Valet Overnight     Routed From Herrington Rob Of Room 4346               15.00
  05-28-08       Parking-Valet Overnight     Routed From Uslaner Jonathan Of Room 4349             15.00
  05-28-08       Room-Group                   Routed From Holden Craig Of Room 4104               189.00
  05-28-08       Occupancy Tax                Routed From Holden Craig Of Room #104                20.79
  05-28-08       Room-Group                   Routed From Russell Jason Of Room #126               99.00
  05-28-08       Occupancy Tax                Routed From Russell Jason Of Room #126               10.89
  05-28-08       Room-Group                   Routed From Pimbelton Ninette Of Room                99.00
                                             4137
  05-28-08       Occupancy Tax                Routed From Pimbelton Ninette Of Room                10.89
                                             #137




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                                                                                      Arrival date:       05-14-08
  MGA Entertainment                                                                   Departure date:     08-29-08
  16300 Roscoe Boulevard                                                              No. in party;      010
  Van Nuys, CA 91406                                                                  Room No.:           9001
                                                                                      Account No.:
                                                                                       BookingNo.:
                                                                                      Page No.:              30 of 39

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  INFORMATION INVOICE                                                                                          08-06-08
                                          .Reference   ,                                    Charges'           Credits

  05-28-08       Room-Group                  Routed From Lopez Alex Of Room #154               99.00
  05-28-08       Occupancy Tax               Routed From Lopez Alex Of Room #154               10.89
  05-28-08       Room-Group                  Routed From Kennedy Raoul Of Room #158           189.00
  05-28-08       Occupancy Tax               Routed From Kennedy Raoul Of Room #158            20.79
  05-28-08       Room-Group                  Routed From Roth Carl Of Room #202               189.00
  05-28-08       Occupancy Tax               Routed From Roth Carl Of Room #202                20.79
  05-28-08       Room-Group                  Routed From Rogosa Diana Of Room #217             99.00
  05-28-08       Occupancy Tax               Routed From Rogosa Diana Of Room #217             10.89
  05-28-08       Room-Group                  D'Avolio Lisa #223—>MGA Entertainment             99.00
                                            #9001
  05-28-08       Occupancy Tax               D'Avolio Lisa #223=>MGA Entertainment             10.89
                                            #9001
  05-28-08       Room-Group                  Routed From Turnipseed Alissa Of Room             99.00
                                            #230
  05-28-08       Occupancy Tax               Routed From Turnipseed Alissa Of Room             10,89
                                            #230
  05-28-08       Room-Group                  Routed From Franco Max Of Room #231               99,00
  05-28-08       Occupancy Tax               Routed From Franco Max Of Room #231               10.89
  05-28-08       Parking-Self Overnight      Routed From Franco Max Of Room #231                5.00
  05-28-08       Room-Group                  Routed From Dozier Jason Of Room #240             99,00
  05-28-08       Occupancy Tax               Routed From Dozier Jason Of Room #240             10,89
  05-28-08       Room-Group                  Routed From Proof Michael Of Room #249            99.00
  05-28-08       Occupancy Tax               Routed From Proof Michael Of Room #249            10,89
  05-28-08       Parking-Self Overnight      Routed From Proof Michael Of Room #249             8.00
  05-28-08       Room-Group                  Routed From Mumford Marcus Of Room                99,00
                                            #255
  05-28-08       Occupancy Tax               Routed From Mumford Marcus Of Room                10.89
                                            #255
  05-28-08       Room-Group                  Routed From Aguiar Lauren Of Room #286           189.00
  05-28-08       Occupancy Tax               Routed From Aguiar Lauren Of Room #286            20.79
  05-28-08       Room-Group                  Routed From Shorr Aaron Of Room #303              99.00
  05-28-08       Occupancy Tax               Routed From Shorr Aaron Of Room #303              10.89
  05-28-08       Room-Group                  Routed From Lybrand Steve Of Room #314            99.00




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                                                                                        Arrival date:        05-14-08
  MGA Entertainment                                                                     Departure date:     08-29-08
  16300 Roscoe Boulevard                                                                No. in party:       0/0
  Van Nuys, CA 91406                                                                    Room No.:            9001
                                                                                        Account No.:
                                                                                        BookiugNo.:
                                                                                        Page No.:               31 of 39

                                                                                         Invoice .:
  INFORMATION INVOICE                                                                                             08-06-08
  Date        Description                 Reference                                           diarges

  05-28-08       Occupancy Tax              Routed From Lybrand Steve Of Room 0314               10.89
  05-28-08       Room-Group                 Routed From Nankin Brianna Of Room 0316              99.00
  05-28-08       Occupancy Tax              Routed From Hartlein Brianna Of Room 0316            10.89
  05-28-08       Room-Group                 Routed From Rinker Greg Of Room 0317                 99,00
  05-28-08       Occupancy Tax              Routed From Rinker Greg Of Room 0317                 10.89
  05-28-08       Room-Group                 Routed From Herrington Rob Of Room #1346             99.00
  05-28-08       Occupancy Tax              Routed From Herrington Rob Of Room /1346             10,89
  05-28-08       Room-Group                 Routed From Garcia Paula Of Room 0348                99.00
  05-28-08       Occupancy Tax              Routed From Garcia Paula Of Room 0348                10,89
  05-28-08       Room-Group                 Routed From Uslaner Jonathan Of Room                 99.00
                                           0349
  05-28-08       Occupancy Tax              Routed From Uslaner Jonathan Of Room                 10.89
                                           0349
  05-28-08       Room-Group                 Routed From Harden Susan Of Room #353                99.00
  05-28-08       Occupancy Tax              Routed From Harden Susan Of Room #353                10.89
  05-28-08       Room-Group                 Routed From Isomoto Becky Of Room 0355               99.00
  05-28-08       Occupancy Tax              Routed From Isomoto Becky Of Room 0355               10,89
  05-28-08       Room-Group                 Routed From Reyes Cecilia Of Room #357               99.00
  05-28-08       Occupancy Tax              Routed From Reyes Cecilia Of Room #357               10,89
  05-28-08       Room-Group                 Routed From Lanstra Allen Of Room 0379               99.00
  05-28-08       Occupancy Tax              Routed From Lanstra Allen Of Room 0379               10.89
  05-28-08       Room-Group                 Routed From Nolan Tom Of Room #403                  350.00
  05-28-08       Occupancy Tax              Routed From Nolan Tom Of Room /1403                  38.50
  05-28-08       Parking-Self Overnight                                                          10.00
  05-29-08       Room Service              Linell 104: CHEM/ 0046913 Holden Craig                 9.91
                                           0104->MGA Entertainment 09001
  05-29-08       Room Service              Line/! 137 : CHECK:0 0046912 Pimbelton                22.21
                                           Ninette#137—>MGA Entertainment 1/9001
  05-29-08       Parking-Self Overnight    Routed From Pimbelton Ninette Of Room                  8.00
                                           #137
  05-29-08       Comm-Long Distance        11:48 00:01:00 Routed From MGA                           0.98
                                           Entertainment Of Room /15425
  05-29-08       Banquet Invoice                                                                712.01




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                                                                                        Arrival date:       05-14-08
  MGA Entertainment                                                                     Departure date:    08-29-08
  16300 Roscoe Boulevard                                                                No. in party:      0/0
  Van Nuys, CA 91406                                                                    Room No.:          9001
                                                                                        Account No.:
                                                                                         BookingNo.:
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  INFORMATION INVOICE                                                                                            08-06-08
  Date        Description                  Reference                                          Charges            Ci.edits

                                            39515 MGA Entertainment #5425=>MGA
                                            Entertainment #9001
  05-29-08       Banquet Invoice            39120 MGA Entertainment 45425-.->MGA                935.00
                                            Entertainment #9001
  05-29-08       Comm-Long Distance         14:27 00:03:00 Routed From MGA                        1,44
                                            Entertainment Of Room #5425
  05-29-08       In Room Beverage           Line# 137 : CHECK4 000004 0004 Routed                 2.50
                                            From Pimbclton Ninette Of Room 4137
  05-29-08       Comm-Long Distance         16:03 00:03:00 Routed From MGA                        1.44
                                            Entertainment Of Room #5425
  05-29-08       Room Service               Line# 104: CHECK4 0046933 Holden Craig               46.77
                                            ft1 04.=>MGA Entertainment #9001
  05-29-08       Comm-Long Distance         20:28 00:02:00 Routed From MGA                        1.21
                                            Entertainment Of Room #5425
  05-29-08       Banquet Invoice            39492                                               890.33
  05-29-08       Comm-Long Distance         21:10 00:02:00 Routed From MGA                        1.21
                                            Entertainment Of Room #5425
  05-29-08       Comm-Long Distance         22:44 00:02:00 Routed From MGA                        1.21
                                            Entertainment Of Room #5425
  05-29-08       Parking-Valet Overnight    Routed From Roth Carl Of Room #202                   15.00
  05-29-08       Parking-Valet Overnight    Routed From Shorr Aaron Of Room #303                 15.00
  05-29-08       Parking-Valet Overnight    Routed From Reyes Cecilia Of Room #357               15.00
  05-29-08       Parking-Valet Overnight    Routed From Rogosa Diana Of Room #217                15,00
  05-29-08       Parking-Valet Overnight    Routed From Proof Michael Of Room #249               15.00
  05-29-08       Parking-Valet Overnight    Routed From Mumford Marcus Of Room                   15.00
                                            #255
  05-29-08       Parking-Valet Overnight    Routed From Uslaner Jonathan Of Room #349            15.00
  05-29-08       Parking-Valet Overnight    Routed From Holden Craig Of Room #104                15.00
  05-29-08       Parking-Valet Overnight    Routed From Uslaner Jonathan Of Room #349            15.00
  05-29-08       Parking-Valet Overnight    Routed From Harden Susan Of Room 4353                15.00
  05-29-08       Parking-Valet Overnight    Routed From Isomoto Becky Of Room 4355               15.00
  05-29-08       Parking-Valet Overnight    Routed From Lopez Alex Of Room #154                  15.00
  05-29-08       Room-Group                 Routed From Holden Craig Of Room #104               189.00




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                                                                                      Arrival date:       05-14-08
  MGA Entertainment                                                                   Departure date:    08-29-08
  16300 Roscoe Boulevard                                                              No. in party:      0/0
  Van Nuys, CA 91406                                                                  Room No.:          9001
                                                                                      Account No.:
                                                                                      BookingNo.:
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                                                                                       Invoice .:
   INFORMATION INVOICE                                                                                         08-06-08
  Date        Docript it) n               Reference                                         Charges            Credits

  05-29-08       Occupancy Tax              Routed From Holden Craig Of Room 11104             20,79
  05-29-08       Room-Group                 Routed From Russell Jason Of Room 14126            99.00
  05-29-08       Occupancy Tax              Routed From Russell Jason Of Room 4126             10.89
  05-29-08       Room-Group                 Routed From Pimbelton Ninette Of Room              99.00
                                           0137
  05-29-08       Occupancy Tax              Routed From Pimbelton Ninette Of Room              10.89
                                           0137
  05-29-08       Parking-Self Overnight     Routed From Pimbelton Ninette Of Room               8.00
                                           #137
  05-29-08       Room-Group                 Routed From Lopez Alex Of Room #154                99.00
  05-29-08       Occupancy Tax              Routed From Lopez Alex Of Room #154                10.89
  05-29-08       Room-Group                 Routed From Kennedy Raoul Of Room #158            189.00
  05-29-08       Occupancy Tax              Routed From Kennedy Raoul Of Room 11158            20,79
  05-29-08       Room-Group                 Routed From Roth Carl Of Room #202                189.00
  05-29-08       Occupancy Tax              Routed From Roth Carl Of Room #202                 20.79
  05-29-08       Room-Group                 Routed From Rogosa Diana Of Room #217              99.00
  05-29-08       Occupancy Tax              Routed From Rogosa Diana Of Room #217              10.89
  05-29-08       Room-Group                 D'Avolio Lisa #223,-->MGA Entertainment            99.00
                                           #9001
  05-29-08       Occupancy Tax              D'Avolio Lisa #223—>MGA Entertainment              10.89
                                           #9001
  05-29-08       Room-Group                 Routed From Turnipseed Alissa Of Room              99.00
                                           #230
  05-29-08       Occupancy Tax              Routed From Turnipseed Alissa Of Room              10.89
                                           #230
  05-29-08       Room-Group                 Routed From Franco Max Of Room 11231               99.00
  05-29-08       Occupancy Tax              Routed From Franco Max Of Room 1123I               10.89
  05-29-08       Parking-Self Overnight     Routed From Franco Max Of Room #23I                 5.00
  05-29-08       Room-Group                 Routed From Dozier Jason Of Room #240              99.00
  05-29-08       Occupancy Tax              Routed From Dozier Jason Of Room #240              10.89
  05-29-08       Room-Group                 Routed From Proof Michael Of Room #249             99.00
  05-29-08       Occupancy Tax              Routed From Proof Michael Of Room #249             10.89
  05-29-08       Parking-Self Overnight     Routed From Proof Michael Of Room #249              8.00




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                                         #:325008




                                                                               Arrival date:       05.14-08
  MGA Entertainment                                                            Departure date:     08-29-08
  16300 Roscoe Boulevard                                                       No. in party:      01 0
  Van Nuys, CA 91406                                                           Room No.:           9001
                                                                               Account No.:
                                                                               BookingNo.:
                                                                               Page No.:              34 of 39

                                                                                Invoice .:
  INFORMATION INVOICE                                                                                   08-06-08
  Date    Description            Reference .                                         Charges            Credits

  05-29-08       Room-Group        Routed From Mumford Marcus Of Room                   99.00
                                  #255
  05-29-08       Occupancy Tax     Routed From Mumford Marcus Of Room                   10.89
                                  #255
  05-29-08       Room-Group        Routed From Aguiar Lauren Of Room #286              189.00
  05-29-08       Occupancy Tax     Routed From Aguiar Lauren Of Room 4286               20.79
  05-29-08       Room-Group        Routed From Shorr Aaron Of Room #303                 99.00
  05-29-08       Occupancy Tax     Routed From Shorr Aaron Of Room #303                 10.89
  05-29-08       Room-Group        Routed From Lybrand Steve Of Room 4314               99.00
  05-29-08       Occupancy Tax     Routed From Lybrand Steve Of Room #314               10.89
  05-29-08       Room-Group        Routed From Hartlein Brianna Of Room #316            99,00
  05-29-08       Occupancy Tax     Routed From Hartlein Brianna Of Room #316            10.89
  05-29-08       Room-Group        Routed From Rinker Greg Of Room #317                 99.00
  05-29-08       Occupancy Tax     Routed From Rinker Greg Of Room #317                 10.89
  05-29-08       Room-Group        Routed From Herrington Rob Of Room #346              99.00
  05-29-08       Occupancy Tax     Routed From Herrington Rob Of Room #346              10.89
  05-29-08       Room-Group        Routed From Garcia Paula Of Room #348                99.00
  05-29-08       Occupancy Tax     Routed From Garcia Paula Of Room #348                10.89
  05-29-08       Room-Group        Routed From Uslaner Jonathan Of Room                 99.00
                                  #349
  05-29-08       Occupancy Tax     Routed From Uslaner Jonathan Of Room                 10.89
                                  #349
  05-29-08       Room-Group        Routed From Harden Susan Of Room #353               99.00
  05-29-08       Occupancy Tax     Routed From Harden Susan Of Room 4353               10.89
  05-29-08       Room-Group        Routed From Isomoto Becky Of Room 4355              99.00
  05-29-08       Occupancy Tax     Routed From Isomoto Becky Of Room #355              10.89
  05-29-08       Room-Group        Routed From Reyes Cecilia Of Room #357              99.00
  05-29-08       Occupancy Tax     Routed From Reyes Cecilia Of Room #357              10.89
  05-29-08       Room-Group        Routed From Lanstra Allen Of Room #379              99.00
  05-29-08       Occupancy Tax     Routed From Lanstra Allen Of Room #379              10.89
  05-29-08       Room-Group        Routed From Nolan Tom Of Room #403                 350.00
  05-29-08       Occupancy Tax     Routed From Nolan Tom Of Room ll403                 38.50




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                                           #:325009




                                                                                      Arr ival date:      05-14-08
  MGA Entertainment                                                                   Departure date:     08-29-08
  16300 Roscoe Boulevard                                                              No. in party:      0/0
  Van Nuys, CA 91406                                                                  Room No.:           9001
                                                                                      Account No.:
                                                                                      BookingNo.:
                                                                                      Page No.:              35 of 39

                                                                                       Invoice .:
  INFORMATION INVOICE                                                                                          08-06-08
  Date        Description
                       .                   Reference .                                     Charges             Credits

  05-29-08       Parking-Self Overnight                                                        10.00
  05-30-08       Comm-Long Distance         07:46 00:02:00 Routed From MGA                      1.21
                                            Entertainment Of Room #5425
  05-30-08       Room Service               Line# 104 : CHECK4 0046946 Holden Craig            17.04
                                            4104—>MGA Entertainment #9001
  05-30-08       Comm-Long Distance         10:15 00:01:00 Routed From MGA                      0,98
                                            Entertainment Of Room #5425
  05-30-08       Comm-Long Distance         10:19 00:04:00 Routed From MGA                      1.67
                                            Entertainment Of Room #5425
  05-30-08       Banquet Invoice            39516                                             661.15
  05-30-08       Banquet Invoice            39121                                           1,001.75
  05-30-08       In Room Beverage           Dna 104: CHECK# 000001 0001 Routed                  3.50
                                            From Holden Craig Of Room #104
  05-30-08       Visa                       Lopez Alex #154—>MGA Entertainment                                       7.43
                                            49001
                                            XXXXXXXXXXXX3400                XX/XX
  05-30-08       Comm-Long Distance         18:10 00:01:00 Routed From MGA                      0.98
                                            Entertainment Of Room #5425
  05-30-08       Comm-Long Distance         19:55 00:01:00 Routed From MGA                      2.84
                                            Entertainment Of Room #5425
  05-30-08       Room Service               Line# 104: CHECK# 0046982 Holden Craig             33.14
                                            4104—>MGA Entertainment #9001
  05-30-08       Parking-Valet Overnight    Routed From Shorr Aaron Of Room #303              15.00
  05-30-08       Parking-Valet Overnight    Routed From Shorr Aaron Of Room 4303              15.00
  05-30-08       Parking-Valet Overnight    Routed From Reyes Cecilia Of Room 4357            15.00
  05-30-08       Parking-Valet Overnight    Routed From Rogosa Diana Of Room #217             15.00
  05-30-08       Room-Group                  Routed From Holden Craig Of Room 4104           189.00
  05-30-08       Occupancy Tax               Routed From Holden Craig Of Room #104            20.79
  05-30-08       Room-Group                 Routed From Lopez Alex Of Room #154               99.00
  05-30-08       Occupancy Tax              Routed From Lopez Alex Of Room #154               10.89
  05-30-08       Room-Group                 Routed From Kennedy Raoul Of Room #158           189.00
  05-30-08       Occupancy Tax              Routed From Kennedy Raoul Of Room #158            20,79
  05-30-08       Room-Group                 Routed From Roth Carl Of Room 4202               189.00




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                                                                                                   Arrival date:        05-14-08
  MGA Entertainment                                                                                Departure date:      08-29-08
  16300 Roscoe Boulevard                                                                           No. in party:       0/0
  Van Nuys, CA 91406                                                                               Room No.:            9001
                                                                                                   Account No.:
                                                                                                    t3ookingNo.:
                                                                                                   Page No.:               36 of 39

                                                                                                    Invoice .:
    INFORMATION INVOICE                                                                                                      08-06-08
               ....... :... .. .......
  . ... ::'...
   Mite        .:::1).iiscr.100n:.:.
               :...... . .....:.„ .             ...:RdeiviriCe....
                                                       ..,. z..i.........,                             ::CharigOs:'        --(2reclits..

  05-30-08             Occupancy Tax                  Routed From Roth Carl Of Room /1202                   20.79
  05-30-08             Room-Group                     Routed From Rogosa Diana Of Room g217                 99.00
  05-30-08             Occupancy Tax                  Routed From Rogosa Diana Of Room 1#217                10.89
  05-30-08             Room-Group                     D'Avolio Lisa #229=>MGA Entertainment                 99.00
                                                     #9001
  05-30-08             Occupancy Tax                  D'Avolio Lisa 11229—>MGA Entertainment                10.89
                                                     #9001
  05-30-08             Room-Group                     Routed From Turnipseed Alissa Of Room                 99.00
                                                     #230
  05-30-08             Occupancy Tax                  Routed From Turnipseed Alissa Of Room                 10.89
                                                     #230
  05-30-08             Room-Group                     Routed From Franco Max Of Room 11231                  99.00
  05-30-08             Occupancy Tax                  Routed From Franco Max Of Room #231                   10.89
  05-30-08             Parking-Self Overnight         Routed From Franco Max Of Room #231                    5.00
  05-30-08             Room-Group                     Routed From Dozier Jason Of Room #240                 99.00
  05-30-08             Occupancy Tax                  Routed From Dozier Jason Of Room #240                 10.89
  05-30-08             Room-Group                     Routed From Proof Michael Of Room #249                99.00
  05-30-08             Occupancy Tax                  Routed From Proof Michael Of Room #249                10.89
  05-30-08             Parking-Self Overnight         Routed From Proof Michael Of Room #249                 8.00
  05-30-08             Room-Group                     Routed From Mumford Marcus Of Room                    99.00
                                                     /1255
  05-30-08             Occupancy Tax                  Routed From Mumford Marcus Of Room                    10.89
                                                     #255
  05-30-08             Room-Group                     Routed From Aguiar Lauren Of Room #286               189.00
  05-30-08             Occupancy Tax                  Routed From Aguiar Lauren Of Room #286                20,79
  05-30-08             Room-Group                     Routed From Shorr Aaron Of Room #303                  99,00
  05-30-08             Occupancy Tax                  Routed From Shorr Aaron Of Room 4303                  10.89
  05-30-08             Room-Group                     Routed From Lybrand Steve Of Room 11314               99.00
  05-30-08             Occupancy Tax                  Routed From Lybrand Steve Of Room 11314               10.89
  05-30-08             Room-Group                     Routed From Hartlein Brianna Of Room 11316            99.00
  05-30-08             Occupancy Tax                  Routed From Hartlein Brianna Of Room #316             10.89
  05-30-08             Room-Group                     Routed From Rinker Greg Of Room 11317                 99.00
  05-30-08             Occupancy Tax                  Routed From Rinker Greg Of Room /1317                 10.89




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                                           #:325011




                                                                                       Arrival date:       05-14-08
  MGA Entertainment                                                                    Departure date:     08-29-08
  16300 Roscoe Boulevard                                                               No. in party:      010
  Van Nuys, CA 91406                                                                   Room No.:           9001
                                                                                       Account No.:
                                                                                       BookingNo.;
                                                                                       Page No.:              37 of 39

                                                                                        Invoice .:
  INFORMATION INVOICE                                                                                           08-06-08
  Date        Description                  Reference                                         Charges            Credits

  05-30-08       Room-Group                  Routed From Herrington Rob Of Room 0346            99.00
  05-30-08       Occupancy Tax               Routed From Herrington Rob Of Room 0346            10.89
  05-30-08       Room-Group                  Routed From Uslaner Jonathan Of Room               99.00
                                            #349
  05-30-08       Occupancy Tax               Routed From Uslaner Jonathan Of Room                10.89
                                            #349
  05-30-08       Room-Group                  Routed From Harden Susan Of Room 0353              99.00
  05-30-08       Occupancy Tax               Routed From Harden Susan Of Room 0353              10.89
  05-30-08       Room-Group                  Routed From Isomoto Becky Of Room #355             99.00
  05-30-08       Occupancy Tax               Routed From Isomoto Becky Of Room #355             10.89
  05-30-08       Room-Group                  Routed From Reyes Cecilia Of Room #357             99.00
  05-30-08       Occupancy Tax               Routed From Reyes Cecilia Of Room 057              10.89
  05-30-08       Room-Group                  Routed From Lanstra Allen Of Room 4379             99.00
  05-30-08       Occupancy Tax               Routed From Lanstra Allen Of Room 4379             10.89
  05-30-08       Room-Group                  Routed From Nolan Tom Of Room #403                350.00
  05-30-08       Occupancy Tax               Routed From Nolan Tom Of Room #403                 38.50
  05-31-08       Banquet Invoice            39122 MGA Entertainment #5425-->MGA                725.00
                                            Entertainment #900 1
  05-31-08       Parking-Valet Overnight    Routed From Herrington Rob Of Room #346             15.00
  05-31-08       Room-Group                  Routed From Holden Craig Of Room 4104             189.00
  05-31-08       Occupancy Tax               Routed From Holden Craig Of Room #104              20.79
  05-31-08       Room-Group                  Routed From Lopez Alex Of Room #154                99.00
  05-31-08       Occupancy Tax               Routed From Lopez Alex Of Room #154                10.89
  05-31-08       Room-Group                  Routed From Kennedy Raoul Of Room 0158            189.00
  05-31-08       Occupancy Tax               Routed From Kennedy Raoul Of Room 0158             20.79
  05-31-08       Room-Group                  Routed From Roth Carl Of Room #202                189.00
  05-31-08       Occupancy Tax               Routed From Roth Carl Of Room #202                 20.79
  05-31-08       Room-Group                  Routed From Rogosa Diana Of Room #217              99.00
  05-31-08       Occupancy Tax               Routed From Rogosa Diana Of Room #217              10.89
  05-31-08       Room-Group                  Routed From Turnipseed Alissa Of Room              99.00
                                            #230
  05-31-08       Occupancy Tax               Routed From Turnipseed A lissa Of Room              10.89




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                                                                                        Arrival date:      05-14-08
  MGA Entertainment                                                                     Departure date:    08-29-08
  16300 Roscoe Boulevard                                                                No. in party:     0/0
  Van Nuys, CA 91406                                                                    Room No.:         9001
                                                                                        Account No.:
                                                                                        BookingNo.:
                                                                                        Page No.:             38 of 39

                                                                                         Invoice .:
  INFORMATION INVOICE                                                                                            08-06-08

  Date    Deseriptiim                     .Reference';                                        Charges            CreditS

                                            #230
  05-31-08       Room-Group                 Routed From Franco Max Of Room #231                  99.00
  05-31-08       Occupancy Tax              Routed From Franco Max Of Room #231                  10,89
  05-31-08       Parking-Self Overnight     Routed From Franco Max Of Room #231                    5.00
  05-31-08       Room-Group                 Routed From Dozier Jason Of Room #240                99.00
  05-31-08       Occupancy Tax              Routed From Dozier Jason Of Room #240                 10.89
  05-31-08       Room-Group                 Routed From Proof Michael Of Room #249               99.00
  05-31-08       Occupancy Tax              Routed From Proof Michael Of Room #249                10.89
  05-31-08       Parking-Self Overnight     Routed From Proof Michael Of Room #249                 8.00
  05-31-08       Room-Group                 Routed From Mumford Marcus Of Room                   99.00
                                            #255
  05-31-08       Occupancy Tax              Routed From Mumford Marcus Of Room                    10.89
                                            #255
  05-31-08       Room-Group                 Routed From Aguiar Lauren Of Room #286              189.00
  05-31-08       Occupancy Tax              Routed From Aguiar Lauren Of Room #286                20.79
  05-31-08       Room-Group                 Routed From Shorr Aaron Of Room #303                 99.00
  05-31-08       Occupancy Tax              Routed From Shorr Aaron Of Room #303                  10.89
  05-31-08       Room-Group                 Routed From Lybrand Steve Of Room #314                99.00
  05-31-08       Occupancy Tax              Routed From Lybrand Steve Of Room #314                10.89
  05-31-08       Room-Group                 Routed From Hartlein Brianna Of Room #316             99.00
  05-31-08       Occupancy Tax              Routed From Hartlein Brianna Of Room #316             10.89
  05-31-08       Room-Group                 Routed From Rinker Greg Of Room #317                  99.00
  05-31-08       Occupancy Tax              Routed From Rinker Greg Of Room #317                  10.89
  05-31-08       Room-Group                 Routed From Herrington Rob Of Room #346               99.00
  05-31-08       Occupancy Tax              Routed From Herrington Rob Of Room #346               10.89
  05-31-08       Room-Group                 Routed From Uslaner Jonathan Of Room                  99.00
                                            #349
  05-31-08       Occupancy Tax              Routed From Uslaner Jonathan Of Room                  10.89
                                            #349
  05-31-08       Room-Group                 Routed From Harden Susan Of Room #353                 99.00
  05-31-08       Occupancy Tax              Routed From Harden Susan Of Room #353                 10.89
  05-31-08       Room-Group                 Routed From Isomoto Becky Of Room #355                99.00




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                                          #:325013




                                                                                                                Arrival date:      05-14-08
  MGA Entertainment                                                                                             Departure date:   08-29-08
  16300 Roscoe Boulevard                                                                                        No. in party;     0/0
  Van Nuys, CA 91406                                                                                            Room No.:          9001
                                                                                                                Account No.:
                                                                                                                 BookingNo.:
                                                                                                                Page No.:             39 of 39

                                                                                                                 Invoice .:
  INFORMATION INVOICE                                                                                                                   08-06-08
                                                                   Reference                                          Charges           Credits

  05-31-08             Occupancy Tax                                   Routed From Isomoto Becky Of Room #355            10.89
  05-31-08             Room-Group                                      Routed From Reyes Cecilia Of Room #357            99.00
  05-31-08             Occupancy Tax                                   Routed From Reyes Cecilia Of Room #357            10,89
  05-31-08             Room-Group                                      Routed From Lanstra Allen Of Room 4379            99.00
  05-31-08             Occupancy Tax                                   Routed From Lanstra Allen Of Room #379            10.89
  05-31-08             Room-Group                                      Routed From Nolan Tom Of Room #403               350.00
  05-31-08             Occupancy Tax                                   Routed From Nolan Torn Of Room #403               38.50




                                                                                Total                                75,541.28         2,007.43

                                                                                Balance                              73,533.85
    Cashier: 35


    I agree to be held personally liable in the event that
    the indicated poison, company or association fails to pay all or
    part of these charges.

    Signature




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                                        #:325014

                                                    Mission Inn                                                            Check#: 39,101
                                           A National Historic Landmark Hotel & Spa                                          Page: 1 of 1
                            3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525            Printed: 8/6/2008
                                             Estimated Banquet Check                                                 Arr: 5/14/2008 Dep: 8/30/2008

 Account:   MGA Entertainment                                                      Event Date:          5/14/2008
 Post As:   MGA Entertainment
                                                                                   Contact:            Ms. Susan Harden
 BM Name:
            300 South Grand Avenue                                                 Phone:              (213) 687-5403
 Address:
                                                                                   Fax:                (213) 621-5403
            Los Angeles, CA 90071
                                                                                   On-Site:            Ms. Susan Harden
                                                                                   Phone:              (213) 687-5403
                                                                                   Fax:                (213) 621-5403


 Quantity Miscellaneous                                                                        Price                                 Amount

       8    Phone Lines - COMPLIMENTARY                                          0.00                                                     0.00

                                                                                                          Subtotal:                       0.00
                                                                                Service Charge %:             18.00                       0.00
                                                                                           Tax °A):            0.00                       0.00
                                                                                                           Total:                         0.00

       2    Mini Fridge Rental                                                   10.00 Day                                              20.00
       1    Phone Line with PolyCom Phone - RCR A                                15.00 Day                                              15.00
       1    Telephone Setup Fee                                                  1,000.00                                            1,000.00

                                                                                                          Subtotal:                   1,035.00
                                                                                Service Charge %:                 0.00                    0.00
                                                                                           Tax %:                 0.00                    0.00
                                                                                                           Total:                    1,035.00



            Room Rental                                                                        Price                                  Amount

    Room:   Rotunda Conference Room A                   Function: OFFC                  150.00                                          150.00
    Room:   Rotunda Conference Room B                   Function: OFFC                  100.00                                          100.00
    Room:   Rotunda Conference Room C                   Function: OFFC                  100.00                                          100.00
    Room:   Rotunda Conference Room D                   Function: OFFC                  100.00                                          100.00

                                                                                                          Subtotal:                     450.00
                                                                               Room Rental Tax Vo:                7.75                  34.88
                                                                                                                                      .....
                                                                                                           Total:                      484.88


                                                                                                      Grand Total:                   1,519.88

                                                                                                     Balance Due:                    1,519.88




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                                                        Mission Inn                                                          Check#: 39,105
                                               A National Historic Landmark Hotel & Spa                                        Page: 1 of 1
                                3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525          Printed: 8/6/2008

                                                 Estimated Banquet Check                                                 Arr: 5/14/2008 Dep: 8/30/2008


 Account:       MGA Entertainment                                                      Event Date:          5/15/2008
 Post As:       MGA Entertainment
                                                                                       Contact:            Ms. Susan Harden
 BEO Name:      MGA Entertainment
                                                                                       Phone:              (213) 687-5403
 Address:       300 South Grand Avenue
                                                                                       Fax:                (213) 621-5403
                Los Angeles, CA 90071
                                                                                       On-Site:            Ms. Susan Harden
                                                                                       Phone:              (213) 687-5403
                                                                                       Fax:                (213) 621-5403

   •
 Quantity Miscellaneous                                                                            Price                                 Amount

            1   Mini Fridge Rental                                                   10.00 Day                                               10.00
            1   Phone Line with PolyCom Phone - RCR A                                15.00 Day                                               15.00

                                                                                                              Subtotal:                      25.00
                                                                                    Service Charge %:                 0.00                    0.00
                                                                                                     Tax %:           0.00                    0.00

                                                                                                               Total:                        25.00



                Room Rental                                                                        Price                                  Amount

      Room:     Rotunda Conference Room D                   Function: OFFC                  100.00                                          100.00
      Room:     Rotunda Conference Room A                   Function: OFFC                  150.00                                          150.00
      Room:     Rotunda Conference Room B                   Function: OFFC                  100,00                                          100.00
      Room:     Rotunda Conference Room C                   Function: OFFC                  100.00                                          100.00

                                                                                                              Subtotal:                     450.00
                                                                                   Room Rental Tax %:                 7.75                   34.88

                                                                                                               Total:                       484.88


                                                                                                          Grand Total:                      509.88


                                                                                                         Balance Due:                       509.88




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                                         #:325016

                                                     Mission Inn                                                          Check#: 39,106
                                            A National Historic Landmark Hotel & Spa                                        Page: 1 of 1
                             3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784.5525          Printed: 8/6/2008
                                                                                                                      Arr: 5/14/2008 Dep: 8/30/2008
                                              Estimated Banquet Check

 Account:    MGA Entertainment                                                      Event Date:          5/16/2008
 Post As:    MGA Entertainment
                                                                                    Contact:            Ms. Susan Harden
 BED Name:   MGA Entertainment
             300 South Grand Avenue                                                 Phone:              (213) 687-5403
 Address:
                                                                                    Fax:                (213) 621-5403
             Los Angeles, CA 90071
                                                                                    On-Site:            Ms. Susan Harden
                                                                                    Phone:              (213) 687-5403
                                                                                    Fax:                 (213) 621-5403



 Quantity Miscellaneous                                                                         Price                                  Amount

             Mini Fridge Rental                                                   10.00 Day                                               10.00
             Phone Line with PolyCom Phone - RCR A                                15.00 Day                                               15.00
             Telephone Order, Rental and System Setup                             2,200.00                                             2,200.00
             audio visual                                                         323.25                                                 323.25

                                                                                                           Subtotal:                   2,548.25
                                                                                  Service Charge %:                0.00                    0.00
                                                                                             Tax %:                0.00                    0.00

                                                                                                            Total:                     2,548.25



             Room Rental                                                                        Price                                  Amount
     Room:   Rotunda Conference Room A                   Function: OFFC                  150.00                                          150.00
     Room:   Rotunda Conference Room D                   Function: OFFC                  100.00                                          100.00
     Room:   Rotunda Conference Room B                   Function: OFFC                  100.00                                          100.00
     Room:   Rotunda Conference Room C                   Function: OFFC                  100.00                                          100.00

                                                                                                           Subtotal:                     450.00
                                                                                Room Rental Tax `Y.:               7.75                   34.88

                                                                                                            Total:                       484.88


                                                                                                       Grand Total:                    3,033.13

                                                                                                      Balance Due:                     3,033.13




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                               Exhibit 1 - Page 49
        Case 2:04-cv-09049-DOC-RNB Document 10684-1 Filed 07/11/11 Page 44 of 78 Page ID
                                          #:325017

                                                           Mission Inn                                                          Check#:    39,107
                                                  A National Historic Landmark Hotel & Spa                                        Page: 1 of 1
                                   3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525          Printed: 8/6/2008
                                                                                                                            Am 5/14/2008 Dep: 8/30/2008
                                                    Estimated Banquet Check

 Account:     MGA Entertainment                                                           Event Date:          5/17/2008
 Post As:     MGA Entertainment
                                                                                          Contact:            Mr. Craig Holden
 13E0 Name:   MGA Entertainment
              16300 Roscoe Boulevard                                                      Phone:              (818) 221-4403
 Address:
                                                                                          Fax:
              Suite #150
                                                                                          On-Site:
              Van Nuys, CA 91406




 Quantity Food                                                                                        Price                                  Amount

              coffee, tea, decaf                                                        50.00 Per person                                       50.00
        10    sodas                                                                     3.75 Per person                                        37.50

                                                                                                                 Subtotal:                     87.50
                                                                                       Service Charge %:             18.00                     15.75
                                                                                                  Tax %:              7.75                      8.00
                                                                                                                  Total:                      111.25


 Quantity Miscellaneous                                                                               Price                                  Amount

         1    Mini Fridge Rental                                                        10.00 Day                                              10.00
         1    Phone Line with PolyCom Phone - RCR A                                     15.00 Day                                              15.00
        20    Duplicate Key Copy                                                        2.00 Each                                              40.00

                                                                                                                 Subtotal:                     65,00
                                                                                       Service Charge %:                 0.00                   0.00
                                                                                                  Tax %:                 0.00                   0.00
                                                                                                                  Total:                       65.00



              Room Rental                                                                             Price                                  Amount

      Room:   Rotunda Conference Room D                        Function: OFFC                  100.00                                         100.00
      Room:   Rotunda Conference Room A                        Function: OFFC                  150.00                                         150.00
      Room:   Rotunda Conference Room B                        Function: OFFC                  100.00                                         100.00
      Room:   Rotunda Conference Room C                        Function: OFFC                  100.00                                         100.00

                                                                                                                 Subtotal:                    450.00
                                                                                      Room Rental Tax %:                 7.75                  34.88

                                                                                                                  Total:                      484.88


                                                                                                             Grand Total:                     661.13

                                                                                                            Balance Due:                      661.13




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                       Exhibit 1 - Page 50
       Case 2:04-cv-09049-DOC-RNB Document 10684-1 Filed 07/11/11 Page 45 of 78 Page ID
                                         #:325018

                                                      Mission Inn                                                          Check#: 39.109
                                                                                                                             Page: 1 of 1
                                             A National Historic Landmark Hotel & Spa
                              3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 7840300 • Fax (951) 784-5525           Printed: 8/6/2008
                                                                                                                       Am 5/14/2008 Ike p: 8/30/2008
                                               Estimated Banquet Check

 Account:    MGA Entertainment                                                      Event Date:          5/18/2008
 Post As:    MGA Entertainment
                                                                                    Contact:            Mr. Craig Holden
 EEO Name:   MGA Entertainment
                                                                                    Phone:              (818) 221-4403
 Address:    16300 Roscoe Boulevard
                                                                                    Fax:
             Suite #150
                                                                                    On-Site:
             Van Nuys, CA 91406




                                                                                                Price                                   Amount
 Quantity Beverage
             Assorted Soft and Diet Soft Drinks                                    3.75 Each                                               52.50
       14
             Charged on Consumption
             Assorted Bottled and Mineral Waters                                   3.75 Each                                               45.00
       12
             Charged on Consumption
        2    Gallon of coffee                                                      50.00 Each                                             100.00

                                                                                                            Subtotal:                     197.50
                                                                                  Service Charge %:            18.00                       35.55
                                                                                                  Tax %:        7.75                       18.06

                                                                                                             Total:                       251.11


                                                                                                 Price                                  Amount
 Quantity Miscellaneous
        1    Reception Phone Line - COMPLIMENTARY                                  0.00                                                      0.00
             Phone Line - Near Book Cases - COMPLIMENTARY                          0.00                                                      0.00

        1    Dedicated IP Address and Network Access in Offices -                  0.00                                                      0.00
             COMPLIMENTARY
                                                                                                            Subtotal:                        0.00
                                                                                  Service Charge %:            18.00                        0.00
                                                                                             Tax %:                 0.00                    0.00
                                                                                                             Total:                          0.00


             Mini Fridge Rental                                                    10.00 Day                                               10.00
        1
             Phone Line with PolyCom Phone - RCR A                                 15.00 Day                                               15.00
        1
                                                                                                            Subtotal:                       25.00
                                                                                   Service Charge 04:               0.00                     0.00
                                                                                              Tax %:                0.00                     0.00

                                                                                                             Total:                        25.00



                                                                                                 Price                                  Amount
             Room Rental
     Room: Rotunda Conference Room A                      Function: OFFC                  150.00                                           150.00
     Room: Rotunda Conference Room B                      Function: OFFC                  100.00                                           100.00
     Room: Rotunda Conference Room C                      Function: OFFC                  100.00                                           100.00
     Room: Rotunda Conference Room D                      Function: OFFC                  100.00                                           100.00

                                                                                                            Subtotal:                      450.00
                                                                                 Room Rental Tax %:                 7.75                    34.88

                                                                                                             Total:                       484.88 .

                                                                                                        "      -J                         760.99 I
CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                 Exhibit 1 - Page 51
            Case 2:04-cv-09049-DOC-RNB Document 10684-1 Filed 07/11/11 Page 46 of 78 Page ID
                                              #:325019

                                                         Mission Inn                                                            Check#: 39,108
                                                A National Historic Landmark Hotel & Spa                                          Page: 1 of 1
                                 3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525            Printed: 8/6/2008
                                                                                                                          Arr: 5/14/2008 Dep: 8/30/2008
                                                  Estimated Banquet Check

 Account:       MGA Entertainment                                                       Event Date:          5/18/2008
 Post As:       MGA Entertainment
                                                                                        Contact:            Mr. Craig Holden
 BEO Name:      MGA Entertainment
                16300 Roscoe Boulevard
                                                                                        Phone:              (818) 221-4403
 Address:
                                                                                        Fax:
                Suite #150
                                                                                        On-Site:
                Van Nuys, CA 91406




 Quantity Miscellaneous                                                                             Price                                  Amount

                Reception Phone Line - COMPLIMENTARY                                  0.00                                                     0.00
                Phone Line - Near Book Cases - COMPLIMENTARY                          0.00                                                     0.00
                Dedicated IP Address and Network Access in Offices -                  0.00                                                     0.00
                COMPLIMENTARY
                                                                                                               Subtotal:                        0.00
                                                                                      Service Charge %:            18.00                       0.00
                                                                                                      Tax %:        0.00                       0.00
                                                                                                                Total:                         0.00

            2   Mini Fridge Rental                                                     10.00 Day                                              20.00
            1   Phone Line with PolyCom Phone - RCR A                                  15.00 Day                                              15.00

                                                                                                               Subtotal:                      35.00
                                                                                      Service Charge %:                0.00                    0.00
                                                                                                      Tax %:           0,00                    0.00
                                                                                                                 Total:                       35.00



                Room Rental                                                                         Price                                  Amount

      Room:     Rotunda Conference Room B                    Function: OFFC                  100.00                                           100.00
      Room:     Rotunda Conference Room A                    Function: OFFC                  150.00                                           150.00
      Room:     Rotunda Conference Room C                    Function: OFFC                  100.00                                           100.00
      Room:     Rotunda Conference Room D                    Function: OFFC                  100.00                                           100.00

                                                                                                                Subtotal:                    450.00
                                                                                    Room Rental Tax %:                 7.75                   34.88

                                                                                                                 Total:                      484.88


                                                                                                            Grand Total:                     519.88

                                                                                                           Balance Due:                      519.88




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                    Exhibit 1 - Page 52
        Case 2:04-cv-09049-DOC-RNB Document 10684-1 Filed 07/11/11 Page 47 of 78 Page ID
                                          #:325020

                                                         Mission Inn                                                            Check#: 39,417
                                                A National Historic Landmark Hotel & Spa                                          Page: 1 of 1
                                 3649 Mission inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525            Printed: 8/6/2008
                                                                                                                          Ani: 5/14/2008 Dep: 8/30/2008
                                                  Estimated Banquet Check

 Account:       MGA Entertainment                                                       Event Date:          5/18/2008
 Post As:       MGA Entertainment
                                                                                        Contact:            Ms. Susan Harden
 BEG Name:      MGA Entertainment
                300 South Grand Avenue
                                                                                        Phone:              (213) 687-5403
 Address:
                                                                                        Fax:                (213) 621-5403
                Los Angeles, CA 90071
                                                                                        On-Site:




 Quantity Food                                                                                      Price                                  Amount

            10 CHEF'S SELECTION LUNCHEON BUFFET                                       20.00 Per person                                      200.00

                                                                                                               Subtotal:                     200.00
                                                                                      Service Charge %:            18.00                      36,00
                                                                                                      Tax %:        7.75                      18.29
                                                                                                                Total:                      254.29


 Quantity Beverage                                                                                  Price                                  Amount

            5   Assorted Soft and Diet Soft Drinks                                     3.75 Each                                              18.75
                Charged on Consumption
                                                                                                               Subtotal:                      18.75
                                                                                      Service Charge %:            18.00                       3.38
                                                                                                      Tax %:        7.75                       1.71
                                                                                                                Total:                        23.84



                Room Rental                                                                         Price                                  Amount

      Room: San Gabriel                                      Function: LUN

                                                                                                               Subtotal:                        0.00
                                                                                    Room Rental Tax °A:                7.75                    0.00

                                                                                                                Total:                         0.00


                                                                                                           Grand Total:                      278.13

                                                                                                          Balance Due:                       278.13




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                   Exhibit 1 - Page 53
        Case 2:04-cv-09049-DOC-RNB Document 10684-1 Filed 07/11/11 Page 48 of 78 Page ID
                                          #:325021

                                                      Mission Inn                                                          Check#: 39,110
                                             A National Historic Landmark Hotel & Spa                                        Page: 1 of 1
                              3649 Mission Inn Avenue • Riverside, CA 92501 • (951} 784-0300 • Fax (951) 764-5525          Printed: 8/6/2008

                                               Estimated Banquet Check                                                 Arr: 5/14/2008 Dep: 8/30/2008

 Account:    MGA Entertainment                                                       Event Date:          5/19/2008
 Post As:   MGA Entertainment
                                                                                     Contact:            Ms. Susan Harden
 13E0 Name: MGA Entertainment
             300 South Grand Avenue                                                  Phone:              (213) 687-5403
 Address:
                                                                                     Fax:                (213) 621-5403
             Los Angeles, CA 90071
                                                                                     On-Site:            Ms. Susan Harden
                                                                                     Phone:              (213) 687-5403
                                                                                     Fax:                (213) 621-5403


 Quantity Beverage                                                                               Price                                  Amount

        1    Coffee, Decaffeinated Coffee and Specialty Teas                       50.00 Per Morning                                       50,00
        1    Coffee, Decaffeinated Coffee and Specialty Teas                       50.00 Per Afternoon                                     50.00
       12    Assorted Soft and Diet Soft Drinks                                    3.75 Each                                               45.00
        8    Assorted Bottled and Mineral Waters                                   3.75 Each                                               30.00

                                                                                                            Subtotal:                     175.00
                                                                                   Service Charge %:            18.00                      31.50
                                                                                              Tax %:                7.75                   16.00
                                                                                                             Total:                       222.50


 Quantity Miscellaneous                                                                          Price                                  Amount

        1    Mini Fridge Rental                                                     10.00 Day                                              10,00
        1    Phone Line with PolyCom Phone - RCR A                                  15.00 Day                                              15.00
        1    Hosted Selft Parking                                                   7.00 per Car                                            7.00

                                                                                                             Subtotal:                     32.00
                                                                                   Service Charge %:                0.00                    0.00
                                                                                              Tax %:                0.00                    0.00
                                                                                                              Total:                       32.00



            Room Rental                                                                          Price                                  Amount

     Room: Rotunda Conference Room D                      Function: OFFC                  100.00                                          100.00
     Room: Rotunda Conference Room A                      Function: OFFC                  150.00                                          150.00
     Room: Rotunda Conference Room B                      Function: OFFC                  100.00                                          100.00
     Room: Rotunda Conference Room C                      Function: OFFC                  100.00                                          100.00

                                                                                                             Subtotal:                    450 00
                                                                                 Room Rental Tax %:                 7.75                   34.88

                                                                                                              Total:                      484.88


                                                                                                         Grand Total:                     739.38

                                                                                                       Balance Due:                       739.38




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                 Exhibit 1 - Page 54
       Case 2:04-cv-09049-DOC-RNB Document 10684-1 Filed 07/11/11 Page 49 of 78 Page ID
                                         #:325022

                                                      Mission Inn                                                        Check#: 39,413
                                                                                                                           Page: 1 of 1
                                             A National Historic Landmark Hotel & Spa
                              3649 Mission Inn Avenue • Riverside, CA 92501 (951) 784-0300 • Fax (951) 784-5525          Printed: 8/6/2008
                                                                                                                     Arr: 5/14/2008 Dep: 8/30/2008
                                               Estimated Banquet Check

 Account:     MGA Entertainment                                                     Event Date:         5/19/2008
 Post As:    MGA Entertainment
                                                                                    Contact:            Ms. Susan Harden
 EEO Name:   MGA Entertainment
                                                                                    Phone:              (213) 687-5403
 Address:    300 South Grand Avenue
                                                                                    Fax:                (213) 621-5403
             Los Angeles, CA 90071
                                                                                    On-Site:




 Quantity Food                                                                                 Price                                  Amount

       15 CHEF'S SELECTION LUNCHEON BUFFET                                        20.00 Per person                                      300.00

                                                                                                          Subtotal:                     300.00
                                                                                 Service Charge               18.00                      54.00
                                                                                            Tax %:                7.75                   27.44

                                                                                                           Total:                       381.44


 Quantity Beverage
        8    Assorted Soft and Diet Soft Drinks                                   3.75 Each                                              30.00
             Charged on Consumption
                                                                                                          Subtotal:                      30.00
                                                                                  Service Charge %:           18.00                       5.40
                                                                                              Tax %:           7.75                       2.74

                                                                                                            Total:                       38.14



             Room Rental                                                                        Price                                 Amount

     Room:   Rotunda Conference Room A                    Function: LUN

                                                                                                           Subtotal:                       0.00
                                                                                Room Rental Tax %:                7.75                    0.00

                                                                                                            Total:                        0.00


                                                                                                       Grand Total:                     419.58


                                                                                                      Balance Due:                      419.58




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                               Exhibit 1 - Page 55
       Case 2:04-cv-09049-DOC-RNB Document 10684-1 Filed 07/11/11 Page 50 of 78 Page ID
                                         #:325023

                                                   Mission Inn                                                          Check#:    39,414
                                                                                                                           Page: 1 of 1
                                          A National Historic Landmark Hotel & Spa
                           3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-6525           Printed: 8/6/2008
                                                                                                                    Arr: 5/14/2008 Dep. 8/30/2008
                                            Estimated Banquet Check

 Account:   MGA Entertainment                                                     Event Date:          5/19/2008
 Post As:  MGA Entertainment
                                                                                  Contact:            Ms. Susan Harden
 BED Name: MGA Entertainment
           300 South Grand Avenue
                                                                                  Phone:              (213) 687-5403
 Address:
                                                                                  Fax:                (213) 621-5403
            Los Angeles, CA 90071
                                                                                  On-Site:




 Quantity Food                                                                                Price                                  Amount

       15   CHEF'S SELECTION DINNER BUFFET                                      28.00 Per person                                       420.00

                                                                                                         Subtotal:                     420.00
                                                                                Service Charge %:            18.00                      75.60
                                                                                            Tax °A:           7.75                      38.41
                                                                                                          Total:                       534.01



            Room Rental                                                                       Price                                  Amount

     Room: Monterey                                    Function: DIN
                                                                                                         Subtotal:                        0.00
                                                                              Room Rental Tax Yo:                7.75                    0.00

                                                                                                           Total:                        0.00


                                                                                                     Grand Total:                      534.01


                                                                                                    Balance Due:                       534.01




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                               Exhibit 1 - Page 56
       Case 2:04-cv-09049-DOC-RNB Document 10684-1 Filed 07/11/11 Page 51 of 78 Page ID
                                         #:325024

                                                      Mission Inn                                                          Check#: 39,111
                                             A National Historic Landmark Hotel & Spa                                        Page: 1 of 1
                              3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525          Printed: 8/6/2008
                                                                                                                       Arr: 5/14/2008 Dep: 8/30/2008
                                               Estimated Banquet Check

 Account:    MGA Entertainment                                                       Event Date:          5/20/2008
 Post As:    MGA Entertainment
                                                                                     Contact:            Mr. Craig Holden
 BED Name:   MGA Entertainment
             16300 Roscoe Boulevard
                                                                                     Phone:              (818) 221-4403
 Address:
                                                                                     Fax:
             Suite #150
                                                                                     On-Site:
             Van Nuys, CA 91406




 Quantity Food                                                                                   Price                                  Amount

             coffee, tea & decaf                                                   100. 00 Per person                                     100.00

                                                                                                            Subtotal:                     100.00
                                                                                   Service Charge %:            18.00                      18.00
                                                                                              Tax %:             7.75                       9.15
                                                                                                             Total:                      127.15


 Quantity Miscellaneous                                                                          Price                                  Amount

        1    Self Parking                                                           7.00                                                    7.00
        1    Mini Fridge Rental                                                     10.00 Day                                              10.00
        1    Phone Line with PolyCom Phone - RCR A                                  15.00 Day                                              15.00

                                                                                                            Subtotal:                      32.00
                                                                                   Service Charge %:                0.00                    0.00
                                                                                              Tax %:                0.00                    0.00

                                                                                                             Total:                        32.00



             Room Rental                                                                         Price                                  Amount
     Room:   Rotunda Conference Room A                    Function: OFFC                  150.00                                          150.00
     Room:   Rotunda Conference Room B                    Function: OFFC                  100.00                                          100.00
     Room:   Rotunda Conference Room C                    Function: OFFC                  100.00                                          100.00
     Room:   Rotunda Conference Room D                    Function: OFFC                  100.00                                          100.00

                                                                                                             Subtotal:                    450.00
                                                                                 Room Rental Tax                    7.75                   34.88

                                                                                                              Total:                      484.88


                                                                                                        Grand Total:                      644.03

                                                                                                       Balance Due:                       644.03




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                Exhibit 1 - Page 57
        Case 2:04-cv-09049-DOC-RNB Document 10684-1 Filed 07/11/11 Page 52 of 78 Page ID
                                          #:325025

                                                         Mission Inn                                                          Check#: 39,431
                                                                                                                                Page: 1 of 1
                                                A National Historic Landmark Hotel & Spa
                                 3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525          Printed: 8/6/2008
                                                                                                                          Arr.5/14/2008 Dep: 8/30/2008
                                                  Estimated Banquet Check

 Account:   MGA Entertainment                                                           Event Date:          5/20/2008
 Post As:  MGA Entertainment
                                                                                        Contact:             Mr. Craig Holden
 BEO Name: MGA Entertainment
                                                                                        Phone:               (818) 221-4403
 Address:   16300 Roscoe Boulevard
                                                                                        Fax:
           Suite #150
                                                                                        On-Site:
           Van Nuys, CA 91406




                                                                                                    Price                                 Amount
 Quantity Food
            20 CHEF'S SELECTION LUNCHEON BUFFET                                       20.00 Per person                                      400.00

                                                                                                                Subtotal:                   400.00
                                                                                      Service Charge %:            18.00                     72.00
                                                                                                      Tax °A:       7.75                     36.58
                                                                                                                Total:                      508.58

                                                                                                    Price                                 Amount
 Quantity Miscellaneous
                Non Hosted Self & Valet Parking @ the Prevailing Rates 0.00                                                                    0.00

                                                                                                                Subtotal:                      0.00
                                                                                      Service Charge %:                0.00                   0.00
                                                                                                 Tax %:                0.00                   0.00
                                                                                                                 Total:                        0.00



                                                                                                     Price                                Amount I
               Room Rental
      Room: Rotunda Conference Room A                        Function: LUN
                                                                                                                Subtotal:                      0.00
                                                                                    Room Rental Tax %:                 7.75                    0.00

                                                                                                                 Total:                        0.00


                                                                                                            Grand Total:                    508.58

                                                                                                           Balance Due:                     508.58




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                   Exhibit 1 - Page 58
       Case 2:04-cv-09049-DOC-RNB Document 10684-1 Filed 07/11/11 Page 53 of 78 Page ID
                                         #:325026

                                                       Mission Inn                                                          Check#: 39.432
                                                                                                                              Page: 1 of 1
                                              A National Historic Landmark Hotel & Spa
                               3649 Mission Inn Avenue • Riverside. CA 92501 • (951) 784-0300 • Fax (951) 784-5525          Printed: 8/6/2008

                                                Estimated Banquet Check                                                 Arr: 5/14/2008 Dep: 8/30/2008


 Account:     MGA Entertainment                                                       Event Date:          5/20/2008
 Post As:    MGA Entertainment
                                                                                      Contact:            Mr. Craig Holden
 BEO Name:   MGA Entertainment
             16300 Roscoe Boulevard                                                   Phone:              (818) 221-4403
 Address:
                                                                                      Fax:
             Suite #150
                                                                                      On-Site:
             Van Nuys, CA 91406




 Quantity Food                                                                                    Price                                 Amount

       13    CHEF'S SELECTION DINNER BUFFET                                         28.00 Per person                                      364.00

                                                                                                             Subtotal:                     364.00
                                                                                   Service Charge %:             18.00                      65.52
                                                                                              Tax %:                 7.75                   33.29
                                                                                                              Total:                      462.81


 Quantity Beverage                                                                                Price                                  Amount

        8    Assorted Soft and Diet Soft Drinks                                     3.75 Each                                               30.00
             Charged on Consumption
                                                                                                             Subtotal:                      30.00
                                                                                   Service Charge %:             18,00                       5.40
                                                                                              Tax %:              7.75                       2.74

                                                                                                              Total:                        38.14



             Room Rental                                                                          Price                                  Amount

     Room: San Gabriel                                     Function: DIN

                                                                                                             Subtotal:                        0.00
                                                                                  Room Rental Tax %:                 7.75                    0.00

                                                                                                              Total:                         0.00


                                                                                                         Grand Total:                      500.95

                                                                                                        Balance Due:                       500.95




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                 Exhibit 1 - Page 59
        Case 2:04-cv-09049-DOC-RNB Document 10684-1 Filed 07/11/11 Page 54 of 78 Page ID
                                          #:325027

                                                       Mission Inn                                                          Check#: 39,112
                                              A National Historic Landmark Hotel & Spa                                        Page: 1 of 1
                               3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525          Printed: 8/6/2008

                                                 Estimated Banquet Check                                                Arr: 5/14/2008 Dep: 8/30/2008


 Account:       MGA Entertainment                                                     Event Date:          5/21/2008
 Post As:       MGA Entertainment
                                                                                      Contact:            Mr. Craig Holden
 BEO Name:      MGA Entertainment
                16300 Roscoe Boulevard                                                Phone:              (818) 221-4403
 Address:
                                                                                      Fax:
                Suite #150
                                                                                      On-Site:
                Van Nuys, CA 91406




 Quantity Food                                                                                    Price                                  Amount

            1 COFFEE, TEA,DECAF                                                     100.00                                                 100.00

                                                                                                             Subtotal:                     100.00
                                                                                   Service Charge                18.00                      18.00
                                                                                              Tax %:              7.75                       9,15
                                                                                                              Total:                      127.15


 Quantity Miscellaneous                                                                           Price                                  Amount

            1   Mini Fridge Rental                                                  10.00 Day                                               10.00
            1   Phone Line with PolyCom Phone - RCR A                               15.00 Day                                               15.00

                                                                                                             Subtotal:                      25.00
                                                                                    Service Charge %:                0.00                    0.00
                                                                                               Tax `)/0:             0.00                    0.00
                                                                                                              Total:                        25.00



                Room Rental                                                                       Price                                  Amount

     Room: Rotunda Conference Room A                       Function: OFFC                  150.00                                          150.00
     Room: Rotunda Conference Room B                       Function: OFFC                  100.00                                          100.00
     Room: Rotunda Conference Room C                       Function: OFFC                  100.00                                          100.00
     Room: Rotunda Conference Room D                       Function: OFFC                  100.00                                          100.00

                                                                                                             Subtotal:                     450.00
                                                                                  Room Rental Tax %:                 7.75                   34.88

                                                                                                              Total:                       484.88


                                                                                                         Grand Total:                      637.03

                                                                                                        Balance Due:                       637.03




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                 Exhibit 1 - Page 60
       Case 2:04-cv-09049-DOC-RNB Document 10684-1 Filed 07/11/11 Page 55 of 78 Page ID
                                         #:325028

                                                    Mission Inn                                                          Check#: 39,434
                                           A National Historic Landmark Hotel & Spa                                        Page: 1 of 1
                            3849 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525          Printed: 8/6/2008

                                             Estimated Banquet Check                                                 Arr: 5/14/2008 Dep: 8/30/2008


 Account:     MGA Entertainment                                                    Event Date:          5/21/2008
 Post As:    MGA Entertainment
                                                                                   Contact:            Mr. Craig Holden
 BEG Name:   MGA Entertainment
                                                                                   Phone:              (818) 221-4403
 Address:    16300 Roscoe Boulevard
                                                                                   Fax:
             Suite #150
                                                                                   On-Site:
             Van Nuys, CA 91406




 Quantity Food                                                                                 Price                                 Amount
       20    MISSION INN BOXED LUNCHES                                           20.00 Per person                                      400.00

                                                                                                          Subtotal:                     400.00
                                                                                 Service Charge %:            18.00                      72.00
                                                                                            Tax                7 75                      36.58

                                                                                                           Total:                      508.58



             Room Rental                                                                       Price                                  Amount
     Room: Rotunda Conference Room A                    Function: LUN
                                                                                                          Subtotal:                       0.00
                                                                               Room Rental Tax %:                 7.75                    0.00

                                                                                                           Total:                         0.00


                                                                                                      Grand Total:                     508.58

                                                                                                     Balance Due:                      508.58




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                              Exhibit 1 - Page 61
       Case 2:04-cv-09049-DOC-RNB Document 10684-1 Filed 07/11/11 Page 56 of 78 Page ID
                                         #:325029

                                                       Mission Inn                                                            Check#: 39,435
                                              A National Historic Landmark Hotel & Spa                                          Page: 1 of 1
                               3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525            Printed: 8/6/2008
                                                Estimated Banquet Check                                                 Arr: 5/14/2008 Dep: 8/30/2008

 Account:    MGA Entertainment                                                        Event Date:          5/21/2008
 Post As:    MGA Entertainment
                                                                                      Contact:            Mr. Craig Holden
 BEO Name:   MGA Entertainment
 Address:    16300 Roscoe Boulevard                                                   Phone:              (818) 221-4403
                                                                                      Fax:
             Suite #150
                                                                                      On-Site:
             Van Nuys, CA 91406




 Quantity Food                                                                                    Price                                 Amount

       13 CHEF'S SELECTION DINNER BUFFET                                            28. 00 Per person                                     364.00

                                                                                                             Subtotal:                     364.00
                                                                                   Service Charge %:             18.00                      65.52
                                                                                              Tax %:              7.75                      33.29
                                                                                                              Total:                      462 81


 Quantity Beverage                                                                                Price                                  Amount

        9    Assorted Soft and Diet Soft Drinks                                     3.75 Each                                               33.75
             Charged on Consumption
                                                                                                             Subtotal:                      33.75
                                                                                   Service Charge %:             18.00                       6.08
                                                                                              Tax %:              7.75                       3.09
                                                                                                              Total:                        42.92



             Room Rental                                                                          Price
     Room: Ho-O-Kan                                       Function: DIN
                                                                                                             Subtotal:                       0.00
                                                                                  Room Rental Tax %:                 7.75                    0.00

                                                                                                              Total:                         0.00


                                                                                                         Grand Total:                     505.73

                                                                                                        Balance Due:                      505.73




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                 Exhibit 1 - Page 62
       Case 2:04-cv-09049-DOC-RNB Document 10684-1 Filed 07/11/11 Page 57 of 78 Page ID
                                         #:325030

                                                      Mission Inn                                                          Check#:    39,113

                                             A National Historic Landmark Hotel & Spa                                         Page: 1 of 1
                              3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525           Printed: 8/6/2008
                                                                                                                       Arr: 5/14/2008 Dep: 8/30/2008
                                               Estimated Banquet Check

 Account:    MGA Entertainment                                                       Event Date:          5/22/2008
 Post As:    MGA Entertainment
                                                                                     Contact:            Mr. Craig Holden
 BEO Name:   MGA Entertainment
             16300 Roscoe Boulevard                                                  Phone:              (818) 221-4403
 Address:
                                                                                     Fax:
             Suite #150
                                                                                     On-Site:
             Van Nuys, CA 91406




 Quantity Food                                                                                   Price                                 Amount

        2    Gallon Coffe, Decaf & Tea                                             50.00                                                 100.00

                                                                                                            Subtotal:                     100.00
                                                                                  Service Charge                18.00                      18.00 :
                                                                                             Tax %:              7.75                       9.15
                                                                                                             Total:                      127,15


 Quantity Miscellaneous                                                                          Price                                 Amount

        1    Mini Fridge Rental                                                    10.00 Day                                               10.00
        1    Phone Line with PolyCom Phone - RCR A                                 15.00 Day                                               15.00

                                                                                                            Subtotal:                      25.00
                                                                                  Service Charge %:                 0.00                    0.00
                                                                                             Tax %:                 0.00                    0.00
                                                                                                             Total:                        25.00



             Room Rental                                                                         Price                                  Amount

     Room:   Rotunda Conference Room A                    Function: OFFC                  150.00                                          150.00
     Room:   Rotunda Conference Room B                    Function: OFFC                  100.00                                          100.00
     Room:   Rotunda Conference Room C                    Function: OFFC                  100.00                                          100.00
     Room:   Rotunda Conference Room D                    Function: OFFC                  100.00                                          100.00
     Room:   Rotunda Conference Room E                    Function: OFFC                  100.00                                          100.00
     Room:   Rotunda Conference Room F                    Function: OFFC                  150.00                                          150.00

                                                                                                            Subtotal:                     700.00
                                                                                 Room Rental Tax %:                 7.75                   54.25

                                                                                                             Total:                       754,25


                                                                                                        Grand Total:                      906.40

                                                                                                       Balance Due:                      906.40




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                  Exhibit 1 - Page 63
       Case 2:04-cv-09049-DOC-RNB Document 10684-1 Filed 07/11/11 Page 58 of 78 Page ID
                                         #:325031

                                                    Mission Inn                                                          Check#: 39,436
                                           A National Historic Landmark Hotel & Spa                                        Page: 1 of 1
                            3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0309 • Fey (951) 784-5525          Printed: 8/6/2008
                                                                                                                     Am 5/14/2008 Dep: 8/30/2008
                                             Estimated Banquet Check
 Account:    MGA Entertainment                                                     Event Date:          5/22/2008
 Post As:    MGA Entertainment
                                                                                   Contact:            Mr. Craig Holden
 BEG Name:   MGA Entertainment
             16300 Roscoe Boulevard                                                Phone:              (818) 221-4403
 Address:
                                                                                   Fax:
             Suite #150
                                                                                   an-Site:
             Van Nuys, CA 91406




 Quantity Food                                                                                 Price                                Amount
       23 MISSION INN BOXED LUNCHES                                              28.00 Per person                                     644.00

                                                                                                          Subtotal:                   644.00
                                                                                Service Charge %:             18.00                   115,92
                                                                                           Tax %:              7.75                    58.89

                                                                                                           Total:                     818.81



             Room Rental                                                                       Price                                Amount
     Room: Rotunda Conference Room A                    Function: LUN

                                                                                                          Subtotal:                      0.00
                                                                               Room Rental Tax %:                 7.75                   0.00

                                                                                                           Total:                        0.00


                                                                                                      Grand Total:                    818.81

                                                                                                     Balance Due:                     818.81




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                              Exhibit 1 - Page 64
       Case 2:04-cv-09049-DOC-RNB Document 10684-1 Filed 07/11/11 Page 59 of 78 Page ID
                                         #:325032

                                                      Mission Inn                                                          Check#: 39,437
                                             A National Historic Landmark Hotel & Spa                                        Page: 1 of 1
                              3649 Mission inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525          Printed: 8/6/2008
                                                                                                                       Arr: 5/14/2008 Dep: 8/30/2008
                                               Estimated Banquet Check

 Account:    MGA Entertainment                                                       Event Date:          5/22/2008
 Post As:    MGA Entertainment
                                                                                     Contact:            Mr. Craig Holden
 BEG Name:   MGA Entertainment
                                                                                     Phone:              (818) 221-4403
 Address:    16300 Roscoe Boulevard
                                                                                     Fax:
             Suite #150
                                                                                     On-Site:
             Van Nuys, CA 91406




 Quantity Food                                                                                   Price                                  Amount

       28 CHEF'S SELECTION DINNER BUFFET                                           28.00 Per person                                       784.00

                                                                                                            Subtotal:                     784.00
                                                                                   Service Charge %:            18.00                    141 12
                                                                                              Tax %:             7.75                      71.70

                                                                                                             Total:                       996.82


 Quantity Beverage                                                                               Price                                  Amount

        6    Assorted Soft and Diet Soft Drinks                                     3.75 Each                                              22.50
             Charged on Consumption
                                                                                                            Subtotal:                      22.50
                                                                                   Service Charge %:            18.00                       4.05
                                                                                              Tax %:             7.75                       2.06

                                                                                                              Total:                       28.61



             Room Rental                                                                         Price                                  Amount

     Room: Ho-O-Kan                                       Function: DIN
                                                                                                             Subtotal:                       0.00
                                                                                 Room Rental Tax `)/0:.             7.75                    0.00

                                                                                                              Total:                        0.00


                                                                                                         Grand Total:                   1,025.43

                                                                                                       Balance Due:                     1,025.43




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                Exhibit 1 - Page 65
            Case 2:04-cv-09049-DOC-RNB Document 10684-1 Filed 07/11/11 Page 60 of 78 Page ID
                                              #:325033

                                                         Mission Inn                                                          Check#: 39,114
                                                                                                                                Page: 1 of 1
                                                A National Historic Landmark Hotel & Spa
                                 3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-9300 • Fax (951) 784-5525          Printed: 8/6/2008
                                                                                                                          Arr: 5/14/2008 De p: 8/30/2008
                                                   Estimated Banquet Check

 Account:       MGA Entertainment                                                       Event Date:          5/23/2008
 Post As:       MGA Entertainment
                                                                                        Contact:            Mr. Craig Holden
 BEO Name:      MGA Entertainment
                                                                                        Phone:               (818) 221-4403
 Address:       16300 Roscoe Boulevard
                                                                                        Fax:
                Suite #150
                                                                                        On-Site:
                Van Nuys, CA 91406




                                                                                                    Price                                  Amount
 Quantity Food
            2   gallon coffee, tea & decaf                                             50.00 Per person                                      100.00

                                                                                                               Subtotal:                      100.00
                                                                                      Service Charge %:            18.00                       18.00
                                                                                                      Tax %:        7.75                        9.15

                                                                                                                Total:                       127.15


                                                                                                    Price                                  Amount
 Quantity Miscellaneous
            1   Mini Fridge Rental                                                     10.00 Day                                               10. 00
                Phone Line with PolyCom Phone - RCR A                                  15.00 Day                                               15.00
            1
                                                                                                                Subtotal:                      25.00
                                                                                      Service Charge %:                0.00                     0.00
                                                                                                      Tax %:           0.00                     0.00
                                                                                                                 Total:                        25.00




                Room Rental                                                                         Price                                   Amount

      Room:     Rotunda Conference Room A                    Function: OFFC                   150.00                                          150.00
      Room:     Rotunda Conference Room B                    Function: OFFC                   100.00                                          100.00
      Room:     Rotunda Conference Room C                    Function: OFFC                   100.00                                          100.00
      Room:     Rotunda Conference Room D                    Function: OFFC                    100.00                                         100.00
      Room:     Rotunda Conference Room E                    Function: OFFC                    100.00                                         100.00
      Room:     Rotunda Conference Room F                    Function: OFFC                    150.00                                         150.00

                                                                                                                Subtotal:                     700.00
                                                                                     Room Rental Tax %:                7.75                    54.25

                                                                                                                 Total:                       754.25


                                                                                                            Grand Total:                      906.40

                                                                                                           Balance Due:                       906.40




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                    Exhibit 1 - Page 66
        Case 2:04-cv-09049-DOC-RNB Document 10684-1 Filed 07/11/11 Page 61 of 78 Page ID
                                          #:325034

                                                        Mission Inn                                                          Check* 39,438
                                               A National Historic Landmark Hotel & Spa                                        Page: 1 of 1
                                3549 Mission Inn Avenue • Riverside, GA 92501 • (951) 784-0330 • Fax (951) 784-5525          Printed: 8/6/2008
                                                                                                                         Arr: 5/14/2008 Dep: 8/30/2008
                                                 Estimated Banquet Check

 Account:       MGA Entertainment                                                      Event Date:          5/23/2008
 Post As:       MGA Entertainment
                                                                                       Contact:            Mr. Craig Holden
 BED Name:      MGA Entertainment
                16300 Roscoe Boulevard                                                 Phone:              (818) 221-4403
 Address:
                                                                                       Fax:
                Suite #150
                                                                                       On-Site:            Ms. Susan Harden
                Van Nuys, CA 91406
                                                                                       Phone:              (213) 687-5403
                                                                                       Fax:                (213) 621-5403


 Quantity Food                                                                                     Price                                  Amount
        26      boxed lunches                                                        20.00 Per person                                       520.00
            2   salads                                                               20.00 Per person                                        40.00

            2   Large To Go Green Salads - Dressing on Sides                         25.00 Each                                              50.00

                                                                                                              Subtotal:                     610.00
                                                                                    Service Charge %:             18.00                    109.80
                                                                                                     Tax %:        7.75                     55.78

                                                                                                               Total:                      775.58



                Room Rental                                                                        Price                                  Amount

      Room: Rotunda Conference Room A                       Function: LUN

                                                                                                              Subtotal:                       0.00
                                                                                   Room Rental Tax %:                 7.75                    0.00

                                                                                                               Total:                         0.00


                                                                                                          Grand Total:                      775.58

                                                                                                         Balance Due:                      775.58




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                  Exhibit 1 - Page 67
            Case 2:04-cv-09049-DOC-RNB Document 10684-1 Filed 07/11/11 Page 62 of 78 Page ID
                                              #:325035

                                                         Mission Inn                                                         Check#: 39. 115
                                                                                                                               Page: 1 of 1
                                                A National Historic Landmark Hotel & Spa
                                 3649 Mission no Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525          Printed: 8/6/2008
                                                                                                                         Arr: 5/14/2008 Dep: 8/30/2008
                                                  Estimated Banquet Check

 Account:       MGA Entertainment                                                      Event Date:          5/24/2008
 Post As:       MGA Entertainment
                                                                                       Contact:             Mr. Craig Holden
 BEO Name:      MGA Entertainment
                                                                                       Phone:               (818) 221-4403
 Address:       16300 Roscoe Boulevard
                                                                                       Fax:
                Suite #150
                                                                                       On-Site:
                Van Nuys, CA 91406




 Quantity Food                                                                                     Price                                  Amount

            1   coffee, decaf & tea                                                   100.00 Per person                                     100.00

                                                                                                              Subtotal:                     100.00
                                                                                     Service Charge %:            18.00                      18.00
                                                                                                     Tax %:        7.75                       9.15
                                                                                                               Total:                       127.15


 Quantity Miscellaneous                                                                            Price                                  Amount

            1   Mini Fridge Rental                                                    10.00 Day                                              10.00
            1   Phone Line with PolyCom Phone - RCR A                                 15.00 Day                                              15.00

                                                                                                              Subtotal:                      25.00
                                                                                     Service Charge %:                0.00                    0.00
                                                                                                     Tax %:           0.00                    0.00

                                                                                                               Total:                        25.00




                Room Rental                                                                         Price                                 Amount

      Room:     Rotunda Conference Room A                    Function: OFFC                  150.00                                         150.00
      Room:     Rotunda Conference Room B                    Function: OFFC                  100.00                                         100.00
      Room:     Rotunda Conference Room C                    Function: OFFC                  100.00                                         100.00
      Room:     Rotunda Conference Room E                    Function: OFFC                  100.00                                         100.00
      Room:     Rotunda Conference Room F                    Function: OFFC                  150.00                                          150.00
      Room:     Rotunda Conference Room D                    Function: OFFC                  100.00                                          100.00

                                                                                                               Subtotal:                    700.00
                                                                                   Room Rental Tax %:                 7.75                   54.25

                                                                                                                Total:                      754.25


                                                                                                           Grand Total:                     906.40

                                                                                                          Balance Due:                      906.40




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                  Exhibit 1 - Page 68
       Case 2:04-cv-09049-DOC-RNB Document 10684-1 Filed 07/11/11 Page 63 of 78 Page ID
                                         #:325036

                                                       Mission Inn                                                          Check#: 39,116
                                                                                                                              Page: 1 of 1
                                              A National Historic Landmark Hotel & Spa
                               3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525           Printed: 8/6/2008
                                                                                                                        AFT: 5/14/2008 Dep: 8/30/2008
                                                Estimated Banquet Check

 Account:    MGA Entertainment                                                        Event Date:          5/25/2008
 Post As:    MGA Entertainment
                                                                                      Contact:            Mr. Craig Holden
 BEO Name:   MGA Entertainment
                                                                                      Phone:              (818) 221-4403
 Address:    16300 Roscoe Boulevard
                                                                                      Fax:
             Suite #150
                                                                                      On-Site:
             Van Nuys, CA 91406




 Quantity Beverage                                                                                Price                                  Amount 1

        2    Gallons of Coffee                                                       50.00                                                 100. 00
        8    assorted soft drinks                                                    3.75                                                   30.00

                                                                                                             Subtotal:                     130.00
                                                                                    Service Charge %:            18.00                      23.40
                                                                                               Tax %:                7.75                   11.89
                                                                                                              Total:                       165.29


 Quantity Miscellaneous                                                                           Price                                  Amount

        1    Reception Phone Line - COMPLIMENTARY                                    0.00                                                    0.00
        1    Phone Line - Near Book Cases - COMPLIMENTARY                            0.00                                                    0.00
        1    Dedicated IP Address and Network Access in Offices -                    0.00                                                    0.00
             COMPLIMENTARY
                                                                                                             Subtotal:                        0.00
                                                                                    Service Charge %:            18.00                       0.00
                                                                                               Tax %:             0.00                       0.00
                                                                                                               Total:                        0.00

             Mini Fridge Rental                                                      10.00 Day                                              10.00
        1
             Phone Line with PolyCom Phone - RCR A                                   15.00 Day                                              15.00
        1
        1    Mini Fridge Rental                                                      10.00 Day                                              10.00
             Phone Line with PolyCom Phone - RCR A                                   15.00 Day                                              15.00
        1
                                                                                                              Subtotal:                      50.00
                                                                                    Service Charge %:                0.00                    0.00
                                                                                               Tax %:                0.00                    0.00

                                                                                                               Total:                       50,00




             Room Rental                                                                          Price                                  Amount

     Room:   Rotunda Conference Room E                      Function: OFFC                  100.00                                          100.00
     Room:   Rotunda Conference Room F                      Function: OFFC                  150.00                                          150.00
     Room:   Rotunda Conference Room D                      Function: OFFC                  100.00                                          100.00
     Room:   Rotunda Conference Room A                      Function: OFFC                  150.00                                          150.00
     Room:   Rotunda Conference Room B                      Function: OFFC                  100.00                                          100.00
     Room:   Rotunda Conference Room C                      Function: OFFC                  100.00                                          100.00 .

                                                                                                              Subtotal:                    700.00
                                                                                  Room Rental Tax %:                 7.75                   54.25

                                                                                                               Total:                      754.25

CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                 Exhibit 1 - Page 69
       Case 2:04-cv-09049-DOC-RNB Document 10684-1 Filed 07/11/11 Page 64 of 78 Page ID
                                         #:325037

                                                     Mission Inn                                                          Check#: 39 .117
                                            A National Historic Landmark Hotel & Spa                                        Page: 1 of 1
                             3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5526          Printed: 8/6/2008
                                                                                                                      Arr: 5/14/2008 Dep: 8/30/2008
                                              Estimated Banquet Check

 Account:    MGA Entertainment                                                      Event Date:          5/26/2008
 Post As:    MGA Entertainment
                                                                                    Contact:            Mr. Craig Holden
 BEO Name:   MGA Entertainment
             16300 Roscoe Boulevard
                                                                                    Phone:              (818) 221-4403
 Address:
                                                                                    Fax:
             Suite #150
                                                                                    On-Site:
             Van Nuys, CA 91406




 Quantity Beverage                                                                              Price                                  Amount

        2    Gal of Coffee                                                         50.00                                                 100. 00
       28    Soft Drinks                                                           3.75                                                  105.00

                                                                                                           Subtotal:                     205.00
                                                                                 Service Charge %:             18.00                      36.90
                                                                                            Tax %:              7.75                      18.75

                                                                                                            Total:                       260.65


 Quantity Miscellaneous                                                                         Price                                  Amount

        1    Mini Fridge Rental                                                    10.00 Day                                              10.00
             Phone Line with PolyCom Phone - RCR A                                 15.00 Day                                              15.00
        1
                                                                                                            Subtotal:                     25.00
                                                                                  Service Charge %:                0.00                    0.00
                                                                                             Tax %:                0.00                    0.00
                                                                                                             Total:                       25.00




             Room Rental                                                                         Price                                 Amount

     Room:   Rotunda Conference Room E                   Function: OFFC                   100.00                                          100.00
     Room:   Rotunda Conference Room F                   Function: OFFC                   150.00                                          150.00
     Room:   Rotunda Conference Room A                   Function: OFFC                   150.00                                          150.00
     Room:   Rotunda Conference Room B                   Function: OFFC                   100.00                                          100.00
     Room:   Rotunda Conference Room C                   Function: OFFC                   100.00                                          100.00
     Room:   Rotunda Conference Room D                   Function: OFFC                   100.00                                          100.00

                                                                                                            Subtotal:                    700.00
                                                                                Room Rental Tax %:                 7.75                   54.25

                                                                                                             Total:                      754.25


                                                                                                        Grand Total:                   1,039.90


                                                                                                       Balance Due:                    t039.90




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                               Exhibit 1 - Page 70
        Case 2:04-cv-09049-DOC-RNB Document 10684-1 Filed 07/11/11 Page 65 of 78 Page ID
                                          #:325038

                                                         Mission Inn                                                          CheckW. 39,481
                                                A National Historic Landmark Hotel & Spa                                        Page: 1 of 1
                                 3849 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525          Printed: 8/6/2008
                                                                                                                          Arr: 5/14/2008 Dep: 8/30/2008
                                                  Estimated Banquet Check

 Account:       MGA Entertainment                                                       Event Date:          5/26/2008
 Post As:       MGA Entertainment
                                                                                        Contact:            Mr. Craig Holden
 BEO Name:      MGA Entertainment
                16300 Roscoe Boulevard                                                  Phone:              (818) 221-4403
 Address:
                                                                                        Fax:
                Suite #150
                                                                                        On-Site:
                Van Nuys, CA 91406




 Quantity Food                                                                                      Price                                  Amount

            30 MISSION INN BOXED LUNCHES (IN BOXES)                                   20.00 Per person                                       600.00

                                                                                                               Subtotal:                     600.00
                                                                                      Service Charge %:            18.00                    108.00
                                                                                                      Tax %:        7.75                     54.87
                                                                                                                Total:                       762.87


 Quantity Beverage                                                                                  Price                                  Amount I

        12      Assorted Soft and Diet Soft Drinks                                     3.75 Each                                              45.00
                Charged on Consumption
                                                                                                               Subtotal:                      45.00
                                                                                      Service Charge               18.00                       8.10
                                                                                                      Tax %:        7.75                       4.12

                                                                                                                Total:                        57.22




                Room Rental                                                                         Price                                  Amount
      Room: Rotunda Conference Room F                        Function: LUN
                                                                                                                Subtotal:                       0.00
                                                                                    Room Rental Tax %:                 7.75                    0.00

                                                                                                                 Total:                        0.00


                                                                                                            Grand Total:                     820.09

                                                                                                           Balance Due:                      820.09




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                   Exhibit 1 - Page 71
       Case 2:04-cv-09049-DOC-RNB Document 10684-1 Filed 07/11/11 Page 66 of 78 Page ID
                                         #:325039

                                                    Mission Inn                                                          Check#: 39,482
                                           A National Historic Landmark Hotel & Spa                                        Page: 1 of 1
                            3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525          Printed: 8/6/2008

                                             Estimated Banquet Check                                                 Arr: 5/14/2008 Dep: 8/30/2008


 Account:    MGA Entertainment                                                     Event Date:          5/26/2008
 Post As:    MGA Entertainment
                                                                                   Contact:            Mr. Crag Holden
 BEO Name:   MGA Entertainment
             16300 Roscoe Boulevard
                                                                                   Phone:              (818) 221-4403
 Address:
                                                                                   Fax:
             Suite #150
                                                                                   On-Site:
             Van Nuys, CA 91406




 Quantity Food                                                                                 Price                                 Amount

       18    CHEF'S SELECTION DINNER BUFFET                                       28.00 Per person                                      504.00

                                                                                                          Subtotal:                     504.00
                                                                                 Service Charge %:            18.00                      90.72
                                                                                            Tax %:             7.75                      46.09

                                                                                                           Total:                      640.81


 Quantity Miscellaneous                                                                        Price                                  Amount

        1    Labor                                                                100.00                                                100.00

                                                                                                          Subtotal:                     100.00
                                                                                 Service Charge %:                0.00                    0.00
                                                                                            Tax %:                0.00                    0.00

                                                                                                           Total:                       100.00



             Room Rental                                                                       Price                                  Amount
     Room: Ho-O-Kan                                     Function: DIN
                                                                                                          Subtotal:                        0.00
                                                                               Room Rental Tax %:                 7.75                    0.00

                                                                                                            Total:                        0.00


                                                                                                      Grand Total:                      740.81

                                                                                                     Balance Due:                       740.81




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                              Exhibit 1 - Page 72
       Case 2:04-cv-09049-DOC-RNB Document 10684-1 Filed 07/11/11 Page 67 of 78 Page ID
                                         #:325040

                                                       Mission Inn                                                           Check#: 39,118
                                                                                                                               Page: 1 of 1
                                             A National Historic Landmark Hotel & Spa
                              3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5625            Printed: 8/6/2008
                                               Estimated Banquet Check                                                 Arr: 5/14/2008 Dep: 8/30/2008

 Account:    MGA Entertainment                                                       Event Date:          5/27/2008
 Post As:    MGA Entertainment
                                                                                     Contact:            Mr. Craig Holden
 BEO Name:   MGA Entertainment
                                                                                     Phone:              (818) 221-4403
 Address:    16300 Roscoe Boulevard
                                                                                     Fax:
             Suite #150
                                                                                     On-Site:
             Van Nuys, CA 91406




 Quantity Beverage                                                                               Price                                 Amount

        2    Gallon of coffee                                                       50.00                                                100.00
       16    assorted softdrinks and waters                                         3.75                                                  60.00

                                                                                                            Subtotal:                     160.00
                                                                                  Service Charge %:             18.00                      28.80
                                                                                                   Tax %:        7,75                      14.63
                                                                                                             Total:                      203.43


 Quantity Miscellaneous                                                                          Price                                  Amount

        1    Mini Fridge Rental                                                    10.00 Day                                               10.00
        1    Phone Line with PolyCom Phone - RCR A                                 15.00 Day                                               15.00

                                                                                                            Subtotal:                      25.00
                                                                                   Service Charge %:                0.00                    0.00
                                                                                              Tax %:                0.00                    0.00
                                                                                                             Total:                        25.00



             Room Renta l                                                                        Price                                  Amount
     Room:   Rotunda Conference Room C                    Function: OFFC                  100.00                                          100.00
     Room:   Rotunda Conference Room D                    Function: OFFC                  100.00                                          100.00
     Room:   Rotunda Conference Room A                    Function: OFFC                  150.00                                          150.00
     Room:   Rotunda Conference Room B                    Function: OFFC                  100.00                                          100.00
     Room:   Rotunda Conference Room E                    Function: OFFC                  100.00                                          100.00
     Room:   Rotunda Conference Room F                    Function: OFFC                  150.00                                          150.00

                                                                                                            Subtotal:                     700.00
                                                                                 Room Rental Tax `Y.:               7.75                   54.26

                                                                                                              Total:                      754.25


                                                                                                        Grand Total:                      982.68

                                                                                                       Balance Due:                       982.68




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                Exhibit 1 - Page 73
        Case 2:04-cv-09049-DOC-RNB Document 10684-1 Filed 07/11/11 Page 68 of 78 Page ID
                                          #:325041

                                                          Mission Inn                                                          Check#: 39,513
                                                 A National Historic Landmark Hotel & Spa                                        Page: 1 of 1
                                  3649 Mission Inn Avenue • Riverside. CA 92501 • (951) 784-0300 - Fax (051) 784-5525          Printed: 8/6/2008

                                                   Estimated Banquet Check                                                 Arr: 5114/2008 Dep: 8/30/2008

 Account:       MGA Entertainment                                                        Event Date:          5/27/2008
 Post As:       MGA Entertainment
                                                                                         Contact:            Mr. Craig Holden
 BEO Name:      MGA Entertainment
                16300 Roscoe Boulevard                                                   Phone:              (818) 221-4403
 Address:
                                                                                         Fax:
                Suite #150
                                                                                         On-Site:
                Van Nuys, CA 91406




 Quantity Food                                                                                       Price                                 Amount
        28      MISSION INN BOXED LUNCHES (IN BOXES)                                   20.00 Per person                                      560.00
            2   Large CALIFORNIA GREEN SALADS - TO GO                                  20.00 Each                                              40.00
                (2) Dressings on the Side
                                                                                                                Subtotal:                     600.00
                                                                                      Service Charge °A:            18.00                    108.00
                                                                                                      Tax %:            7.75                   54.87
                                                                                                                 Total:                      762.87


 Quantity Beverage                                                                                   Price                                 Amount

            8   Assorted Soft and Diet Soft Drinks                                     3. 75 Each                                              30.00
                Charged on Consumption
                                                                                                                Subtotal:                      30.00 :
                                                                                      Service Charge %:             18.00                       5.40
                                                                                                       Tax %:           7.75                    2.74

                                                                                                                 Total:                        38.14



                Room Rental                                                                          Price                                  Amount
      Room: Rotunda Conference Room F                         Function: [UN

                                                                                                                Subtotal:                       0.00
                                                                                    Room Rental Tax %:                  7.75                    0.00

                                                                                                                 Total:                         0.00


                                                                                                            Grand Total:                     801.01


                                                                                                           Balance Due:                      801.01




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                    Exhibit 1 - Page 74
       Case 2:04-cv-09049-DOC-RNB Document 10684-1 Filed 07/11/11 Page 69 of 78 Page ID
                                         #:325042

                                                       Mission Inn                                                            Check#: 39,488
                                              A National !Historic Landmark Hotel & Spa                                         Page: 1 of 1
                               3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525            Printed: 8/6/2008
                                                Estimated Banquet Check                                                 Arr: 5/14/2008 Dep: 8/30/2008

 Account:    MGA Entertainment                                                        Event Date:          5/27/2008
 Post As:    MGA Entertainment
                                                                                      Contact:            Mr. Craig Holden
 BEO Name:   MGA Entertainment
 Address:    16300 Roscoe Boulevard                                                   Phone:              (818) 221-4403
                                                                                      Fax:
             Suite #150
                                                                                      On-Site:
             Van Nuys, CA 91406




 Quantity Food                                                                                    Price                                  Amount
       26 CHEF'S SELECTION DINNER BUFFET                                            28.00 Per person                                      728.00

                                                                                                             Subtotal:                     728.00
                                                                                   Service Charge %:             18.00                    131.04
                                                                                              Tax °A:             7.75                     66.58
                                                                                                              Total:                      925.62


 Quantity Beverage                                                                                Price                                 Amount 1

        9    Assorted Soft and Diet Soft Drinks                                     3.75 Each                                               33.75
             Charged on Consumption
       17    Import Beer                                                            4.75 Each                                               80.75

                                                                                                             Subtotal:                     114.50
                                                                                   Service Charge %:             18.00                      20.61
                                                                                                    Tax %:        7.75                      10.47
                                                                                                              Total:                      145.58



             Room Rental                                                                          Price                                  Amount

     Room: Ho-O-Kan                                        Function: DIN

                                                                                                             Subtotal:                       0.00
                                                                                  Room Rental Tax %:                 7.75                    0.00

                                                                                                              Total:                         0.00


                                                                                                         Grand Total:                    1,071.20

                                                                                                        Balance Due:                    1,071.20




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                 Exhibit 1 - Page 75
       Case 2:04-cv-09049-DOC-RNB Document 10684-1 Filed 07/11/11 Page 70 of 78 Page ID
                                         #:325043

                                                     Mission Inn                                                          Check#: 39 , 119
                                            A National Historic Landmark Hotel & Spa                                        Page: 1 of 1
                             3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784.0300 • Fax (951) 784-5525          Printed: 8/6/2008

                                              Estimated Banquet Check                                                 Arr: 5/14/2008 Dep: 8/30/2008

 Account:     MGA Entertainment                                                     Event Date:          5/28/2008
 Post As:    MGA Entertainment
                                                                                    Contact:            Mr. Craig Holden
 BEO Name:   MGA Entertainment
 Address:    16300 Roscoe Boulevard                                                 Phone:              (818) 221-4403
                                                                                    Fax:
             Suite #150
                                                                                    On-Site:
             Van Nuys, CA 91406




 Quantity Food                                                                                  Price                                 Amount

        1    Coffee, Tea, Decaf                                                   100.00 Per person                                     100.00
       20    Sodas                                                                3.75 Per person                                         75.00

                                                                                                           Subtotal:                     175.00
                                                                                 Service Charge %:             18.00                      31.50
                                                                                            Tax %:                 7.75                   16.00

                                                                                                            Total:                      222.50


 Quantity Miscellaneous                                                                         Price                                  Amount

        1    Mini Fridge Rental                                                   10.00 Day                                               10.00
        1    Phone Line with PolyCom Phone - RCR A                                15.00 Day                                               15.00

                                                                                                           Subtotal:                      25.00
                                                                                 Service Charge %:                 0.00                    0.00
                                                                                            Tax %:                 0.00                    0.00

                                                                                                            Total:                        25.00



             Room Rental                                                                        Price                                  Amount
     Room:   Rotunda Conference Room A                   Function: OFFC                  150.00                                          150.00
     Room:   Rotunda Conference Room B                   Function: OFFC                  100.00                                          100.00
     Room:   Rotunda Conference Room C                   Function: OFFC                  100.00                                          100.00
     Room:   Rotunda Conference Room D                   Function: OFFC                  100.00                                          100.00
     Room:   Rotunda Conference Room E                   Function: OFFC                  100.00                                          100.00
     Room:   Rotunda Conference Room F                   Function: OFFC                  150.00                                          150.00

                                                                                                           Subtotal:                     700.00
                                                                                Room Rental Tax %:                 7.75                   54.25

                                                                                                            Total:                      754.25


                                                                                                       Grand Total:                    1,001.75

                                                                                                      Balance Due:                    1,001.75




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                               Exhibit 1 - Page 76
       Case 2:04-cv-09049-DOC-RNB Document 10684-1 Filed 07/11/11 Page 71 of 78 Page ID
                                         #:325044

                                                    Mission Inn                                                          Check#: 39,514
                                           A National Historic Landmark Hotel & Spa                                        Page: 1 of 1
                            3649 Mission Inn Avenue • Riverside, CA 92501 • {951) 784-0300 • Fax (951) 784-5525          Printed: 8/6/2008

                                             Estimated Banquet Check                                                 Arr: 5/14/2008 Dep: 8/30/2008


 Account:    MGA Entertainment                                                     Event Date:          5/28/2008
 Post As:    MGA Entertainment
                                                                                   Contact:            Mr. Craig Holden
 BEO Name:   MGA Entertainment
             16300 Roscoe Boulevard                                                Phone:              (818) 221-4403
 Address:
                                                                                   Fax:
             Suite #150
                                                                                   On-Site:
             Van Nuys, CA 91406




 Quantity Food                                                                                 Price                                  Amount
       26    MISSION INN BOXED LUNCHES (IN BOXES)                                20.00 Per person                                       520.00
        2    Large CALIFORNIA GREEN SALADS - TO GO                               20.00 Each                                              40.00
             (2) Dressings on the Side
                                                                                                          Subtotal:                     560.00
                                                                                Service Charge %:             18.00                    100.80
                                                                                           Tax Vo:                7.75                  51.21

                                                                                                           Total:                      712,01



             Room Rental                                                                       Price                                  Amount
     Room: Rotunda Conference Room F                    Function: LUN

                                                                                                          Subtotal:                       0.00
                                                                               Room Rental Tax %:                 7.75                    0.00

                                                                                                           Total:                         0.00


                                                                                                      Grand Total:                      712.01

                                                                                                     Balance Due:                      712.01




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                              Exhibit 1 - Page 77
       Case 2:04-cv-09049-DOC-RNB Document 10684-1 Filed 07/11/11 Page 72 of 78 Page ID
                                         #:325045

                                                      Mission Inn                                                          Check#: 39,490
                                             A National Historic Landmark Hotel & Spa                                        Page: 1 of 1
                              3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525          Printed: 8/6/2008
                                                                                                                       Am 5/14/2008 Dep: 8/30/2008
                                               Estimated Banquet Check

 Account:    MGA Entertainment                                                       Event Date:          5/28/2008
 Post As:    MGA Entertainment
                                                                                     Contact:            Mr. Craig Holden
 BEG Name:   MGA Entertainment
                                                                                     Phone:              (818) 221-4403
 Address:    16300 Roscoe Boulevard
                                                                                     Fax:
             Suite #150
                                                                                     On-Site:
             Van Nuys, CA 91406




 Quantity Food                                                                                   Price                                Amount

       24 CHEFS SELECTION DINNER BUFFET                                            28.00 Per person                                     672.00

                                                                                                            Subtotal:                   672.00
                                                                                  Service Charge °A,:           18.00                   120.96
                                                                                              Tax %:             7,75                    61.45

                                                                                                             Total:                     854.41


 Quantity Miscellaneous                                                                                                               Amount

             Non Hosted Self & Valet Parking @ the Prevailing Rates 0.00                                                                   0.00

                                                                                                            Subtotal:                      0.00
                                                                                   Service Charge %:                0.00                  0.00
                                                                                              Tax %:                0.00                  0.00
                                                                                                             Total:                        0.00



             Room Rental                                                                         Price                                Amount

     Room: Ho-O-Kan                                       Function: DIN

                                                                                                            Subtotal:                      0.00
                                                                                 Room Rental Tax %:                 7.75                   0.00

                                                                                                             Total:                        0.00


                                                                                                        Grand Total:                    854.41

                                                                                                       Balance Due:                     854.41




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                               Exhibit 1 - Page 78
        Case 2:04-cv-09049-DOC-RNB Document 10684-1 Filed 07/11/11 Page 73 of 78 Page ID
                                          #:325046

                                                        Mission Inn                                                          Check#: 39,120
                                               A National Historic Landmark Hotel & Spa                                        Page: 1 of 1
                                3649 Mission #nn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 764-5525          Printed: 8/6/2008

                                                 Estimated Banquet Check                                                 Arr. 5/14/2008 Der): 8/30/2008

 Account:       MGA Entertainment                                                      Event Date:          5/29/2008
 Post As:       MGA Entertainment
                                                                                       Contact:            Mr. Craig Holden
 BED Name:      MGA Entertainment
                16300 Roscoe Boulevard                                                 Phone:              (818) 221-4403
 Address:
                                                                                       Fax:
                Suite #150
                                                                                       On-Site:
                Van Nuys, CA 91406




 Quantity Food                                                                                     Price                                  Amount

            6 SODAS                                                                  3.75 Per person                                         22.50
            1 COFFEE,TEA,DECAF                                                       100.00 Per person                                      100.00

                                                                                                              Subtotal:                     122.50
                                                                                    Service Charge %:             18.00                      22.05
                                                                                               Tax °A:             7.75                      11.20

                                                                                                               Total:                       155.75


 Quantity Miscellaneous                                                                            Price                                  Amount

            1   Mini Fridge Rental                                                   10,00 Day                                               10.00
            1   Phone Line with PolyCom Phone - RCR A                                15.00 Day                                               15.00

                                                                                                              Subtotal:                       25.00
                                                                                    Service Charge °A:                0.00                     0.00
                                                                                               Tax Vo:                0.00                     0.00

                                                                                                               Total:                        25.00



                Room Rental                                                                        Price                                  Amount
     Room:      Rotunda Conference Room E                   Function: OFFC                  100.00                                           100_00
     Room:      Rotunda Conference Room F                   Function: OFFC                  150.00                                           150.00
     Room:      Rotunda Conference Room A                   Function: OFFC                  150.00                                           150.00
     Room:      Rotunda Conference Room B                   Function: OFFC                  100.00                                           100.00
     Room:      Rotunda Conference Room C                   Function: OFFC                  100.00                                           100.00
     Room:      Rotunda Conference Room D                   Function: OFFC                  100,00                                           100.00

                                                                                                              Subtotal:                     700.00
                                                                                   Room Rental Tax 'Yu:               7.75                    54.25

                                                                                                               Total:                       754.25


                                                                                                          Grand Total:                      935.00

                                                                                                         Balance Due:                       935.00




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                   Exhibit 1 - Page 79
       Case 2:04-cv-09049-DOC-RNB Document 10684-1 Filed 07/11/11 Page 74 of 78 Page ID
                                         #:325047

                                                    Mission Inn                                                          Check#: 39,515
                                                                                                                           Page: 1 of 1
                                           A National Historic Landmark Hotel & Spa
                            3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525          Printed: 8/6/2008
                                             Estimated Banquet Check                                                 Arr: 5/14/2008 Dep: 8/30/2008

 Account:    MGA Entertainment                                                     Event Date:          5/29/2008
 Post As:    MGA Entertainment
                                                                                   Contact:            Mr. Craiq Holden
 BEO Name:   MGA Entertainment
             16300 Roscoe Boulevard                                                Phone:              (818) 221-4403
 Address:
                                                                                   Fax:
             Suite #150
                                                                                   On-Site:
             Van Nuys, CA 91406




 Quantity Food                                                                                 Price                                 Amount

       26    MISSION INN BOXED LUNCHES (IN BOXES)                                20.00 Per person                                       520.00
        2    Large CALIFORNIA GREEN SALADS - TO GO                               20.00 Each                                              40.00
             (2) Dressings on the Side
                                                                                                          Subtotal:                     560.00
                                                                                 Service Charge %:            18.00                    100.80
                                                                                            Tax %:             7.75                     51.21
                                                                                                           Total:                       712.01



             Room Rental
     Room: Rotunda Conference Room F                    Function: LUN
                                                                                                          Subtotal:                        0.00
                                                                               Room Rental Tax %:                 7.75                    0.00'

                                                                                                           Total:                         0.00


                                                                                                      Grand Total:                      712.01

                                                                                                     Balance Due:                       712.01




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                              Exhibit 1 - Page 80
       Case 2:04-cv-09049-DOC-RNB Document 10684-1 Filed 07/11/11 Page 75 of 78 Page ID
                                         #:325048

                                                       Mission Inn                                                          Check#:    39,492

                                              A National Historic Landmark Hotel & Spa                                         Page: 1 of 1
                               3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525           Printed: 8/6/2008

                                                Estimated Banquet Check                                                 Arr: 5/14/2008 Dep: 8/30/2008

 Account:    MGA Entertainment                                                        Event Date:          5/29/2008
 Post As:    MGA Entertainment
                                                                                      Contact:            Mr. Craig Holden
 BEO Name:   MGA Entertainment
             16300 Roscoe Boulevard                                                   Phone:              (818) 221-4403
 Address:
                                                                                      Fax:
             Suite #150
                                                                                      On-Site:
             Van Nuys, CA 91406




 Quantity Food                                                                                    Price                                 Amount

       23 CHEF'S SELECTION DINNER BUFFET                                            28.00 Per person                                      644.00

                                                                                                             Subtotal:                     644,00
                                                                                   Service Charge %:             18.00                    115.92
                                                                                              Tax %:              7.75                     58.89

                                                                                                              Total:                      818.81


 Quantity Beverage                                                                                Price                                  Amount

       15    Assorted Soft and Diet Soft Drinks                                     3. 75 Each                                              56.25
             Charged on Consumption
                                                                                                             Subtotal:                      56.25
                                                                                   Service Charge %:             18.00                      10.13
                                                                                              Tax %:              7.75                       5.14

                                                                                                              Total:                        71.52


 Quantity Miscellaneous                                                                           Price                                  Amount

             Non Hosted Self & Valet Parking @ the Prevailing Rates 0.00                                                                     0.00

                                                                                                             Subtotal:                       0.00
                                                                                   Service Charge %:                 0.00                    0.00
                                                                                              Tax %:                 0.00                    0.00
                                                                                                              Total:                         0.00



             Room Rental                                                                          Price                                  Amount 1

     Room: Ho-O-Kan                                        Function: DIN
                                                                                                             Subtotal:                        0.00
                                                                                  Room Rental Tax %:                 7.75                    0.00

                                                                                                              Total:                         0.00


                                                                                                         Grand Total:                      890.33

                                                                                                        Balance Due:                      890.33




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                   Exhibit 1 - Page 81
        Case 2:04-cv-09049-DOC-RNB Document 10684-1 Filed 07/11/11 Page 76 of 78 Page ID
                                          #:325049

                                                      Mission Inn                                                            Check#: 39,121
                                             A National Historic Landmark Hotel & Spa                                          Page: 1 of 1
                              3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525            Printed: 8/6/2008
                                               Estimated Banquet Check                                                 Arr: 5/14/2008 Dep: 8/30/2008

 Account:     MGA Entertainment                                                      Event Date:          5/30/2008
 Post As:     MGA Entertainment
                                                                                     Contact:            Mr. Craig Holden
 BEE) Name:   MGA Entertainment
              16300 Roscoe Boulevard                                                 Phone:              (818) 221-4403
 Address:
                                                                                     Fax:
              Suite #150
                                                                                     On-Site:
              Van Nuys, CA 91406




 Quantity Food                                                                                   Price                                 Amount

         1    Coffee, Tea & Decaf                                                  100.00 Per person                                      100.00
        20    Sodas                                                                3.75 Per person                                         75.00

                                                                                                            Subtotal:                     175.00
                                                                                  Service Charge %:             18.00                      31.50
                                                                                             Tax %:              7.75                      16.00
                                                                                                             Total:                      222.50


 Quantity Miscellaneous                                                                          Price                                  Amount

         1    Mini Fridge Rental                                                    10.00 Day                                              10.00
         1    Phone Line with PolyCom Phone - RCR A                                 15.00 Day                                              15.00

                                                                                                            Subtotal:                      25,00
                                                                                   Service Charge %:                0.00                    0.00
                                                                                              Tax %:                0.00                    0.00
                                                                                                             Total:                        25.00



              Room Rental                                                                        Price                                  Amount

     Room:    Rotunda Conference Room B                   Function: OFFC                  100.00                                          100.00
     Room:    Rotunda Conference Room C                   Function: OFFC                  100.00                                          100.00
     Room:    Rotunda Conference Room                     Function: OFFC                  100.00                                          100.00
     Room:    Rotunda Conference Room A                   Function: OFFC                  150,00                                          150.00
     Room:    Rotunda Conference Room E                   Function: OFFC                  100.00                                          100.00
     Room:    Rotunda Conference Room F                   Function: OFFC                  150.00                                          150.00

                                                                                                            Subtotal:                     700.00
                                                                                 Room Rental Tax %:                 7.75                   54.25

                                                                                                             Total:                       754.25


                                                                                                        Grand Total:                    1,001.75

                                                                                                       Balance Due:                     1,001.75




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                Exhibit 1 - Page 82
       Case 2:04-cv-09049-DOC-RNB Document 10684-1 Filed 07/11/11 Page 77 of 78 Page ID
                                         #:325050

                                                    Mission Inn                                                         Check#:    39 , 516
                                           A National Historic Landmark Hotel & Spa                                        Page: 1 of 1
                            3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax 951) 784-5525           Printed: 8/6/2008

                                             Estimated Banquet Check                                                Arr: 5/14(2008 Dep: 8/30(2008


 Account:    MGA Entertainment                                                    Event Date:          5/30/2008
 Post As:    MGA Entertainment
                                                                                  Contact:            Mr. Craig Holden
 BEO Name:   MGA Entertainment
             16300 Roscoe Boulevard                                               Phone:              (818) 221-4403
 Address:
                                                                                  Fax:
             Suite #150
             Van Nuys, CA 91406                                                   On-Site:




 Quantity Food                                                                                Price                                 Amount
       24    MISSION INN BOXED LUNCHES (IN BOXES)                               20.00 Per person                                       480.00
        2    Large CALIFORNIA GREEN SALADS - TO GO                              20.00 Each                                              40.00
             (2) Dressings on the Side
                                                                                                         Subtotal:                     520.00
                                                                                Service Charge `Yo:         18.00                       93.60
                                                                                           Tax %:                7.75                   47.55

                                                                                                          Total:                      661.15




             Room Rental                                                                      Price                                 Amount
     Room: Rotunda Conference Room F                   Function: LUN

                                                                                                         Subtotal:                        0.00
                                                                              Room Rental Tax %:                 7.75                    0.00

                                                                                                          Total:                         0.00


                                                                                                     Grand Total:                     661.15

                                                                                                    Balance Due:                      661.15




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                               Exhibit 1 - Page 83
        Case 2:04-cv-09049-DOC-RNB Document 10684-1 Filed 07/11/11 Page 78 of 78 Page ID
                                          #:325051

                                                      Mission Inn                                                          Checktt: 39,122
                                             A National Historic Landmark Hotel & Spa                                        Page: 1 of 1
                              3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5526          Printed: 8/6/2008

                                               Estimated Banquet Check                                                 Arr 5/14/2008 Dep: 8/30/2008

 Account:     MGA Entertainment                                                      Event Date:          5/31/2008
 Post As:     MGA Entertainment
                                                                                     Contact:            Mr. Craig Holden
 13E0 Name:   MGA Entertainment
              16300 Roscoe Boulevard                                                 Phone:              (818) 2214403
 Address:
                                                                                     Fax:
              Suite #150
              Van Nuys, CA 91406                                                     On-Site:




 Quantity Miscellaneous                                                                          Price                                 Amount

         1    Mini Fridge Rental                                                   10.00 Day                                              10.00
              Phone Line with PolyCom Phone - RCR A                                15.00 Day                                              15.00

                                                                                                            Subtotal:                     25.00
                                                                                  Service Charge %:                 0.00                   0.00
                                                                                             Tax %:                 0.00                   0.00

                                                                                                             Total:                       25.00



              Room Rental                                                                        Price                                 Amount

     Room:    Rotunda Conference Room E                  Function: OFFC                   100.00                                         100.00
     Room:    Rotunda Conference Room F                  Function: OFFC                   150.00                                         150.00
     Room:    Rotunda Conference Room A                  Function: OFFC                   150.00                                         150.00
     Room:    Rotunda Conference Room B                  Function: OFFC                   100.00                                         100.00
     Room:    Rotunda Conference Room C                  Function: OFFC                   100.00                                         100.00
     Room:    Rotunda Conference Room D                  Function: OFFC                   100.00                                         100.00

                                                                                                            Subtotal:                    700.00
                                                                                Room Rental Tax %:                  7.75                  54.25

                                                                                                             Total:                      754.25


                                                                                                        Grand Total:                     779.25

                                                                                                       Balance Due:                      779.25




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                Exhibit 1 - Page 84
